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                                                                         APPEAL,CLOSED,PROTO
                          U.S. District Court
                 Southern District of Georgia (Augusta)
       CRIMINAL DOCKET FOR CASE #: 1:17−cr−00034−JRH−BKE−1

Case title: USA v. Winner
Magistrate judge case number: 1:17−mj−00024−BKE

Date Filed: 06/07/2017
Date Terminated: 08/24/2018


Intervenor
Reporters Committee for Freedom of           represented by David E. Hudson
the Press                                                   Hull Barrett, PC
                                                            801 Broad Street
                                                            7th Floor
                                                            P.O. Box 1564
                                                            Augusta, GA 30903−1564
                                                            706−722−4481
                                                            Fax: 706−722−9779
                                                            Email: dhudson@hullbarrett.com
                                                            TERMINATED: 04/26/2019
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

Assigned to: Chief Judge J.
Randal Hall
Referred to: Magistrate Judge
Brian K. Epps

Defendant (1)
Reality Leigh Winner                 represented by Brett A. Switzer
TERMINATED: 08/24/2018                              Baker, Donelson, Bearman, Caldwell & Berkowitz,
                                                    PC
                                                    1600 Monarch Plaza
                                                    3414 Peachtree Road, NE
                                                    Atlanta, GA 30326
                                                    404−577−6000
                                                    Fax: 404−238−9799
                                                    Email: bswitzer@bakerdonelson.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained

                                                   Jill E McCook
                                                   Baker, Donelson, Bearman, Caldwell & Berkowitz,
                                                                                                      1
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                                      PC
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                                      Email: jmccook@bakerdonelson.com
                                      TERMINATED: 01/22/2018
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                                      PRO HAC VICE
                                      ATTORNEY TO BE NOTICED
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                                      Fax: 706−722−7552
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                                      Katherine Cicardo Mannino
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                                      Email: kcicardo@bakerdonelson.com
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                                      PRO HAC VICE
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                                      Designation: Retained

                                      Matthew Scott Chester
                                      Baker, Donelson, Bearman, Caldwell, and
                                      Berkowitz

                                                                                        2
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                                        201 St Charles Avenue, Suite 3600
                                        New Orleans, LA 70170
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                                        PRO HAC VICE
                                        ATTORNEY TO BE NOTICED
                                        Designation: Retained

                                        Thomas H Barnard
                                        Baker, Donelson, Bearman, Caldwell & Berkowitz
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                                        Baltimore, MD 21202
                                        410−862−1185
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                                        Email: tbarnard@bakerdonelson.com
                                        LEAD ATTORNEY
                                        PRO HAC VICE
                                        ATTORNEY TO BE NOTICED
                                        Designation: Retained

                                        Titus Thomas Nichols
                                        Nichols Law
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                                        Suite 2600
                                        Atlanta, GA 30326
                                        404−239−7072
                                        Fax: 470−632−4446
                                        Email: Titus@nlglawyer.com
                                        LEAD ATTORNEY
                                        ATTORNEY TO BE NOTICED
                                        Designation: Retained

Pending Counts                          Disposition
Willful Retention and
                                        63 months custody BOP; 3 years supervised release;
Transmission of National Defense
                                        $100 special assessment; 100 hours community
Information
                                        service
(1)

Highest Offense Level
(Opening)
Felony

Terminated Counts                       Disposition
WILLFUL RETENTION AND                   DISMISSED
TRANSMISSION OF

                                                                                             3
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NATIONAL DEFENSE
INFORMATION
(1s)

Highest Offense Level
(Terminated)
Felony

Complaints                                Disposition
Gathering, Transmitting or Losing
Defense Information



Interested Party
Carli Rodriguez−Feo                 represented by Carli Rodriguez−Feo
                                                   Classified Information Security Officer
                                                   Email: carli.rodriguez−feo@usdoj.gov
                                                   PRO SE



Plaintiff
USA                                 represented by Jennifer Gayle Solari
                                                   U.S. Attorney's Office − Savannah
                                                   P.O. Box 8970
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                                                   912−201−2561
                                                   Fax: 912−652−4388
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                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                   Bobby L. Christine
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                                                   Savannah, GA 31401
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                                                   Email: bobby.christine@usdoj.gov
                                                   (Inactive)
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                   Brian T. Rafferty (AUSA)
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                                                   P.O. Box 8970
                                                   22 Barnard Street, Suite 300
                                                   Savannah, GA 31401

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                                             912−201−2575
                                             Fax: 912−652−4388
                                             Email: karl.knoche@usdoj.gov
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                                             Savannah, GA 31401
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                                             Fax: 912−652−4388
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                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

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                                             United States Attorney's Office
                                             Southern District of Georgia
                                             22 Barnard St.
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                                             ATTORNEY TO BE NOTICED

                                             Mary Susan Robichaux
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                                             Assistant U.S. Attorney
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                                             Amy E. Larson
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                                             National Security Division−CES
                                             950 Pennsylvania Avenue, NW
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                                             Email: amy.larson@usdoj.gov
                                             ATTORNEY TO BE NOTICED

                                             David C. Aaron
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                                             950 Pennsylvania Ave, NW
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                                             Email: david.aaron2@usdoj.gov
                                             ATTORNEY TO BE NOTICED


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                                                           Julie Ann Edelstein
                                                           U.S. Department of Justice
                                                           600 E Street NW
                                                           10th Floor
                                                           Washington, DC 20002
                                                           202−233−2260
                                                           Email: julie.edelstein@usdoj.gov
                                                           ATTORNEY TO BE NOTICED

Date Filed   #    Page Docket Text
06/03/2017    1        Application for Search Warrant as to Reality Leigh Winner. (Attachments: # 1
                       Attachment A, # 2 Attachment B, # 3 Affidavit).(rc) [1:17−mj−00024−BKE]
                       (Entered: 06/05/2017)
06/03/2017    2        Search Warrant Issued in case as to Reality Leigh Winner. (Attachments: # 1
                       Attachment A, # 2 Attachment B, # 3 Affidavit)(rc) [1:17−mj−00024−BKE]
                       (Entered: 06/05/2017)
06/05/2017    3        MOTION to Unseal by Patricia Green Rhodes as to Reality Leigh Winner.
                       REFERRED to Judge Brian K. Epps.(rc) [1:17−mj−00024−BKE] (Entered:
                       06/05/2017)
06/05/2017    4        ORDER granting 3 Motion to Unseal as to Reality Leigh Winner. Signed by
                       Magistrate Judge Brian K. Epps on 6/5/2017. (rc) [1:17−mj−00024−BKE]
                       (Entered: 06/05/2017)
06/05/2017    5        COMPLAINT as to Reality Leigh Winner. (Attachments: # 1 Affidavit) (rc)
                       [1:17−mj−00024−BKE] (Entered: 06/05/2017)
06/05/2017    6        Arrest Warrant Issued by Magistrate Judge Brian K. Epps in case as to Reality
                       Leigh Winner. (rc) [1:17−mj−00024−BKE] (Entered: 06/05/2017)
06/05/2017    7        CJA 23 Financial Affidavit by Reality Leigh Winner. (cmr)
                       [1:17−mj−00024−BKE] (Entered: 06/05/2017)
06/05/2017    9        Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:
                       Initial Appearance as to Reality Leigh Winner held on 6/5/2017. Defendant
                       waives preliminary hearing. Detention hearing scheduled for Thursday, June
                       8, 2017, ta 4:00 PM. (Court Reporter FTR.) (rc) [1:17−mj−00024−BKE]
                       (Entered: 06/06/2017)
06/05/2017             ORAL MOTION for Detention by USA. REFERRED to Judge Brian K.
                       Epps.(rc) (Entered: 06/09/2017)
06/06/2017   10        NOTICE OF HEARING as to Reality Leigh Winner. Detention Hearing set
                       for 6/8/2017 04:00 PM in Augusta − 1st Floor before Magistrate Judge Brian
                       K. Epps. (rc) [1:17−mj−00024−BKE] (Entered: 06/06/2017)
06/06/2017   11        ORDER terminating appointment of CJA counsel Titus Thomas Nichols and
                       instructing Mr. Nichols to file his CJA voucher on or before June 20, 2017.
                       Signed by Magistrate Judge Brian K. Epps on 6/6/2017. (rc)
                       [1:17−mj−00024−BKE] (Entered: 06/06/2017)
06/06/2017   12        Search Warrant Returned Executed in case as to Reality Leigh Winner. (rc)
                       [1:17−mj−00024−BKE] (Entered: 06/06/2017)
                                                                                                       6
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06/07/2017   13     INDICTMENT as to Reality Leigh Winner (1) count 1. (maa) (Additional
                    attachment(s) added on 6/7/2017: # 1 Signature Page) (maa). (Entered:
                    06/07/2017)
06/07/2017   14     PENALTY CERTIFICATION by Government as to Reality Leigh Winner.
                    (maa) (Entered: 06/07/2017)
06/08/2017   16     NOTICE OF ATTORNEY APPEARANCE: Titus Thomas Nichols appearing
                    for Reality Leigh Winner (Nichols, Titus) (Entered: 06/08/2017)
06/08/2017   17     NOTICE by USA, Reality Leigh Winner, NOTICE OF ATTORNEY
                    APPEARANCE James D. Durham appearing for USA. (Durham, James)
                    (Entered: 06/08/2017)
06/08/2017   18     NOTICE TO RETAINED COUNSEL as to Reality Leigh Winner. (rc)
                    (Entered: 06/08/2017)
06/08/2017   19     NOTICE OF HEARING as to Reality Leigh Winner. Arraignment and
                    Detention Hearing set for 6/8/2017 04:00 PM in Augusta − 1st Floor before
                    Magistrate Judge Brian K. Epps. (rc) (Entered: 06/08/2017)
06/08/2017   20     First MOTION for Disclosure of all 404(b) evidence by Titus Thomas Nichols
                    as to Reality Leigh Winner. Responses due by 6/22/2017. (Nichols, Titus)
                    (Entered: 06/08/2017)
06/08/2017   21     First MOTION for Disclosure OF GRAND JURY TRANSCRIPTS AND
                    POINTS AND AUTHORITIES by Titus Thomas Nichols as to Reality Leigh
                    Winner. Responses due by 6/22/2017. (Nichols, Titus) (Entered: 06/08/2017)
06/08/2017   22     First MOTION for Jencks Material In Advance of Trial by Titus Thomas
                    Nichols as to Reality Leigh Winner. Responses due by 6/22/2017. (Nichols,
                    Titus) (Entered: 06/08/2017)
06/08/2017   23     First MOTION for Release of Brady Materials by Titus Thomas Nichols as to
                    Reality Leigh Winner. Responses due by 6/22/2017. (Nichols, Titus) (Entered:
                    06/08/2017)
06/08/2017          MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 23
                    First MOTION for Release of Brady Materials , 20 First MOTION for
                    Disclosure of all 404(b) evidence, 21 First MOTION for Disclosure OF
                    GRAND JURY TRANSCRIPTS AND POINTS AND AUTHORITIES, 22 First
                    MOTION for Jencks Material In Advance of Trial. (cmr) (Entered:
                    06/08/2017)
06/08/2017   26     Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:
                    Arraignment as to Reality Leigh Winner held on 6/8/2017. Not guilty plea
                    entered as to Count 1. Detention Hearing held. Defendant detained pending
                    trial. Government's oral motion to designate this case as complex is granted.
                    Conference regarding planning/discovery to be held at a later date. (Court
                    Reporter FTR.) (rc) (Entered: 06/09/2017)
06/08/2017          ORAL MOTION to Designate this Case as Complex by Jennifer Gayle Solari
                    as to Reality Leigh Winner. REFERRED to Judge Brian K. Epps.(rc)
                    (Entered: 06/14/2017)
06/09/2017   27

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                    ORDER OF DETENTION as to Reality Leigh Winner. Signed by Magistrate
                    Judge Brian K. Epps on 6/9/2017. (rc) (Entered: 06/09/2017)
06/14/2017   28     ORDER granting Motion to Designate this Case as Complex and scheduling
                    the first planning conference for June 27, 2017, at 2:00 P.M. as to Reality
                    Leigh Winner. Signed by Magistrate Judge Brian K. Epps on 6/14/2017. (rc)
                    (Entered: 06/14/2017)
06/17/2017   29     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Arraignment and
                    Detention Hearing as to Reality Leigh Winner held on June 8, 2017, before
                    Judge Brian K. Epps; Transcriber: Victoria L. Root, CCR; Telephone Number:
                    (912) 650−4066; Tape Number: FTR. Transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before
                    the deadline for Release of Transcript Restriction. After that date it may be
                    obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                    view Transcript Redaction Policy) Redaction Request due 7/10/2017.
                    Redacted Transcript Deadline set for 7/18/2017. Release of Transcript
                    Restriction set for 9/15/2017. (Root, Victoria) (Entered: 06/17/2017)
06/19/2017   30     First MOTION for Hearing Pursuant to Section 2 of Classified Information
                    Procedures Act and for Designation of a Classified Information Security
                    Officer by Jennifer Gayle Solari as to Reality Leigh Winner. Responses due by
                    7/3/2017. (Attachments: # 1 Text of Proposed Order Proposed Order
                    Designating CISO)(Solari, Jennifer) (Entered: 06/19/2017)
06/22/2017          MOTION as to Reality Leigh Winner REFERRED to Magistrate Judge: 30
                    First MOTION for Hearing Pursuant to Section 2 of Classified Information
                    Procedures Act and for Designation of a Classified Information Security
                    Officer (rc) (Entered: 06/22/2017)
06/27/2017   32     Minute Entry for proceedings held before Magistrate Judge Brian K.
                    Epps:Planning Conference as to Reality Leigh Winner held on 6/27/2017
                    (Court Reporter FTR.) (lcw) (Entered: 06/30/2017)
06/29/2017   31     NOTICE OF HEARING as to Reality Leigh Winner. Status Conference set for
                    6/30/2017 10:00 AM in Augusta − 1st Floor before Magistrate Judge Brian K.
                    Epps.(lcw) (Entered: 06/29/2017)
06/29/2017          Set/Reset Hearings as to Reality Leigh Winner: The Status Conference
                    previously set for 6/30/2017 at 10:00 AM before Magistrate Judge Brian K.
                    Epps is HEREBY CANCELLED. (lcw) (Entered: 06/29/2017)
06/30/2017   33     SCHEDULING ORDER as to Reality Leigh Winner. See Scheduling Order
                    for specific deadlines. Signed by Magistrate Judge Brian K. Epps on
                    07/30/2017. (lcw) (Entered: 06/30/2017)
06/30/2017   34     RESPONSE to Motion by USA as to Reality Leigh Winner re 22 First
                    MOTION for Jencks Material In Advance of Trial (Solari, Jennifer) (Entered:
                    06/30/2017)
06/30/2017   35     RESPONSE to Motion by USA as to Reality Leigh Winner re 21 First
                    MOTION for Disclosure OF GRAND JURY TRANSCRIPTS AND POINTS
                    AND AUTHORITIES (Solari, Jennifer) (Entered: 06/30/2017)
06/30/2017   36     RESPONSE to Motion by USA as to Reality Leigh Winner re 23 First
                    MOTION for Release of Brady Materials (Solari, Jennifer) (Entered:
                                                                                                    8
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                    06/30/2017)
06/30/2017   37     RESPONSE to Motion by USA as to Reality Leigh Winner re 20 First
                    MOTION for Disclosure of all 404(b) evidence (Solari, Jennifer) (Entered:
                    06/30/2017)
07/07/2017   38     MOTION to Seal by USA as to Reality Leigh Winner. REFERRED to Judge
                    Brian K. Epps.(rc) (Entered: 07/07/2017)
07/07/2017   39     ORDER granting 38 Motion to Seal as to Reality Leigh Winner. Signed by
                    Magistrate Judge Brian K. Epps on 7/7/2017. (rc) (Entered: 07/07/2017)
07/11/2017   42     MOTION for Protective Order by Jennifer Gayle Solari as to Reality Leigh
                    Winner. Responses due by 7/25/2017. (Attachments: # 1 Text of Proposed
                    Order, # 2 Memorandum of Understanding)(Solari, Jennifer) (Entered:
                    07/11/2017)
07/11/2017          MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 42
                    MOTION for Protective Order (lcw) (Entered: 07/11/2017)
07/14/2017   43     NOTICE of intent to respond to Gov.'s motion for protective order by Reality
                    Leigh Winner (Bell, John) (Entered: 07/14/2017)
07/14/2017   44     ORDER setting briefing deadlines in reference to doc. no. 42 as to Reality
                    Leigh Winner. Defendant shall file her response brief, addressing all
                    remaining protective order disputes, on or before July 20, 2017. The
                    government shall file any reply brief on or before July 24, 2017. Signed by
                    Magistrate Judge Brian K. Epps on July 14, 2017. (rc) (Entered: 07/14/2017)
07/20/2017   45     RESPONSE in Opposition by Reality Leigh Winner re 42 MOTION for
                    Protective Order (Bell, John) (Entered: 07/20/2017)
07/20/2017   46     MOTION for Leave to Appear Pro Hac Vice of Joe Dally Whitley Receipt
                    Number 113J−2198681, Fee Amount $200,. Responses due by 8/3/2017.
                    (Attachments: # 1 Text of Proposed Order)(Nichols, Titus) (Entered:
                    07/20/2017)
07/20/2017   47     MOTION for Leave to Appear Pro Hac Vice of Matthew Scott Chester
                    Receipt Number 113J−2198689, Fee Amount $200,. Responses due by
                    8/3/2017. (Attachments: # 1 Text of Proposed Order)(Nichols, Titus) (Entered:
                    07/20/2017)
07/21/2017          MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 47
                    MOTION for Leave to Appear Pro Hac Vice of Matthew Scott Chester
                    Receipt Number 113J−2198689, Fee Amount $200, 46 MOTION for Leave to
                    Appear Pro Hac Vice of Joe Dally Whitley Receipt Number 113J−2198681,
                    Fee Amount $200. (en) (Entered: 07/21/2017)
07/21/2017          TEXT ORDER granting 46 Motion to Appear Pro Hac Vice as to Reality
                    Leigh Winner (1); granting 47 Motion to Appear Pro Hac Vice as to Reality
                    Leigh Winner (1), and finding the requirements in Local Rule 83.4 have been
                    satisfied. Signed by Magistrate Judge Brian K. Epps on 7/21/17. (en per BKE)
                    (Entered: 07/21/2017)
07/24/2017   48     NOTICE TO RETAINED COUNSEL Joe D. Whitley and Matthew Scott
                    Chester as to Reality Winner. (en) (Entered: 07/24/2017)

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07/24/2017   49    REPLY TO RESPONSE to Motion by USA as to Reality Leigh Winner re 42
                   MOTION for Protective Order (Solari, Jennifer) (Entered: 07/24/2017)
07/25/2017   50    MOTION for Leave to Appear Pro Hac Vice of Jill E. McCook Receipt
                   Number 113J−2201331, Fee Amount $200,. Responses due by 8/8/2017.
                   (Attachments: # 1 Text of Proposed Order)(Bell, John) (Entered: 07/25/2017)
07/25/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 50
                   MOTION for Leave to Appear Pro Hac Vice of Jill E. McCook. Receipt
                   Number 113J−2201331, Fee Amount $200. (thb) (Entered: 07/25/2017)
07/25/2017   51    NOTICE OF ATTORNEY APPEARANCE: appearing for Reality Leigh
                   Winner (Switzer, Brett) (Entered: 07/25/2017)
07/26/2017         TEXT ORDER granting 50 Motion to Appear Pro Hac Vice as to Reality
                   Leigh Winner (1), and finding the requirements in Local Rule 83.4 have been
                   satisfied. Signed by Magistrate Judge Brian K. Epps on 7/26/17. (en) (Entered:
                   07/26/2017)
07/26/2017   52    NOTICE TO RETAINED COUNSEL as to Reality Leigh Winner re Counsel
                   Brett A. Switzer and Jill E McCook (en) (Entered: 07/26/2017)
07/28/2017   53    REPLY TO RESPONSE to Motion by Reality Leigh Winner re 42 MOTION
                   for Protective Order (Bell, John) (Entered: 07/28/2017)
08/01/2017   54    MOTION for Leave to Appear Pro Hac Vice of Thomas H. Barnard Receipt
                   Number 113J−2205234, Fee Amount $200,. Responses due by 8/15/2017.
                   (Attachments: # 1 Text of Proposed Order)(Nichols, Titus) (Entered:
                   08/01/2017)
08/02/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 54
                   MOTION for Leave to Appear Pro Hac Vice of Thomas H. Barnard Receipt
                   Number 113J−2205234, Fee Amount $200, (lcw) (Entered: 08/02/2017)
08/02/2017         TEXT ORDER granting 54 Motion to Appear Pro Hac Vice as to Reality
                   Leigh Winner (1), and finding the requirements in Local Rule 83.4 have been
                   satisfied. Signed by Magistrate Judge Brian K. Epps on 08/02/2017. (lcw)
                   (Entered: 08/02/2017)
08/02/2017   55    NOTICE Pursuant to FRE 404(b) of Other Crimes, Wrongs or Other Acts of
                   the Defendant by USA (Solari, Jennifer) (Entered: 08/02/2017)
08/03/2017   56    NOTICE TO RETAINED COUNSEL Thomas H. Barnard as to Reality Leigh
                   Winner. (lcw) (Entered: 08/03/2017)
08/03/2017   57    ORDER granting 42 Motion for Protective Order as modified in the
                   simultaneously entered Protective Order as to Reality Leigh Winner (1).
                   Signed by Magistrate Judge Brian K. Epps on 08/03/2017. (lcw) (Entered:
                   08/03/2017)
08/03/2017   58    PROTECTIVE ORDER as to Reality Leigh Winner. Signed by Magistrate
                   Judge Brian K. Epps on 08/03/2017. (lcw) (Additional attachment(s) added on
                   8/3/2017: # 1 Memorandum of Understanding)(lcw). (Entered: 08/03/2017)
08/15/2017   59    First MOTION for Protective Order Unopposed Supplemental by Jennifer
                   Gayle Solari as to Reality Leigh Winner. Responses due by 8/29/2017. (Solari,
                   Jennifer) (Entered: 08/15/2017)
                                                                                                    10
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08/15/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 59
                   First MOTION for Protective Order Unopposed Supplemental (lcw) (Entered:
                   08/15/2017)
08/16/2017   60    SUPPLEMENTAL PROTECTIVE ORDER as to Reality Leigh Winner.
                   Signed by Magistrate Judge Brian K. Epps on 08/16/2017. (lcw) (Entered:
                   08/16/2017)
08/25/2017   61    NOTICE OF HEARING as to Reality Leigh Winner. Status Conference set for
                   8/30/2017 09:00 AM in Augusta − 1st Floor before Magistrate Judge Brian K.
                   Epps. (lcw) (Entered: 08/25/2017)
08/25/2017   62    NOTICE of filing by USA (Edelstein, Julie) (Entered: 08/25/2017)
08/29/2017   63    MOTION to Suppress Defendant's Statements and Request for Evidentiary
                   Hearing by John C. Bell, Jr as to Reality Leigh Winner. Responses due by
                   9/12/2017. (Attachments: # 1 Briefs)(Bell, John) (Entered: 08/29/2017)
08/29/2017   64    DECLARATION re 63 MOTION to Suppress Defendant's Statements and
                   Request for Evidentiary Hearing (Bell, John) (Entered: 08/29/2017)
08/30/2017   65    Executed MEMORANDUM OF UNDERSTANDING filed per Protective
                   Order (Doc. 58).(lcw) (Entered: 08/31/2017)
08/30/2017   67    Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Status Conference as to Reality Leigh Winner held on 8/30/2017 (Court
                   Reporter FTR.) (lcw) (Entered: 09/01/2017)
08/31/2017   66    AMENDED SCHEDULING ORDER as to Reality Leigh Winner. Signed by
                   Magistrate Judge Brian K. Epps on 08/31/2017. (lcw) (Entered: 08/31/2017)
09/01/2017   68    MOTION to Amend/Correct 66 Scheduling Order by Julie Ann Edelstein as to
                   Reality Leigh Winner. Responses due by 9/15/2017. (Attachments: # 1 Text of
                   Proposed Order)(Edelstein, Julie) (Entered: 09/01/2017)
09/05/2017   69    First MOTION Exclude Time From Speedy Trial Calculation by Jennifer
                   Gayle Solari as to Reality Leigh Winner. Responses due by 9/19/2017.
                   (Attachments: # 1 Text of Proposed Order)(Solari, Jennifer) (Entered:
                   09/05/2017)
09/05/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 69
                   First MOTION Exclude Time From Speedy Trial Calculation , 68 MOTION
                   to Amend/Correct 66 Scheduling Order (lcw) (Entered: 09/05/2017)
09/05/2017   70    NOTICE OF ATTORNEY APPEARANCE Julie Ann Edelstein appearing for
                   USA. (Edelstein, Julie) (Entered: 09/05/2017)
09/05/2017   71    NOTICE OF ATTORNEY APPEARANCE David C. Aaron appearing for
                   USA. (Aaron, David) (Entered: 09/05/2017)
09/06/2017   72    SUPERSEDING INDICTMENT as to Reality Leigh Winner (1) count(s) 1s.
                   (lcw) (Additional attachment(s) added on 9/7/2017: # 1 Supplement Signature
                   Page) (lcw). (Entered: 09/07/2017)
09/06/2017   73    PENALTY CERTIFICATION by Government as to Reality Leigh Winner.
                   (lcw) (Entered: 09/07/2017)


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09/07/2017   76    First MOTION for Extension of Time to File Response/Reply as to 63
                   MOTION to Suppress Defendant's Statements and Request for Evidentiary
                   Hearing by Jennifer Gayle Solari as to Reality Leigh Winner. Responses due
                   by 9/21/2017. (Attachments: # 1 Text of Proposed Order)(Solari, Jennifer)
                   (Entered: 09/07/2017)
09/07/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 76
                   First MOTION for Extension of Time to File Response/Reply as to 63
                   MOTION to Suppress Defendant's Statements and Request for Evidentiary
                   Hearing (lcw) (Entered: 09/07/2017)
09/07/2017   77    NOTICE OF HEARING ON MOTION in case as to Reality Leigh Winner 69
                   First MOTION Exclude Time From Speedy Trial Calculation , 68 MOTION
                   to Amend/Correct 66 Scheduling Order and Arraignment on Superseding
                   Indictment: Hearing set for 9/14/2017 02:00 PM in Augusta − 1st Floor before
                   Magistrate Judge Brian K. Epps. (lcw) (Entered: 09/07/2017)
09/08/2017   78    ORDER finding as moot 76 Motion for Extension of Time to File
                   Response/Reply as to Reality Leigh Winner (1). Signed by Magistrate Judge
                   Brian K. Epps on 09/08/2017. (lcw) (Entered: 09/08/2017)
09/08/2017   79    RESPONSE in Opposition by Reality Leigh Winner re 68 MOTION to
                   Amend/Correct 66 Scheduling Order (Bell, John) (Entered: 09/08/2017)
09/11/2017   80    NOTICE OF FILING OF DEFENDANT'S OBJECTION TO GOVERNMENTS
                   PROCEEDING EX PARTE UNDER SECTION 4 OF THE CLASSIFIED
                   INFORMATION PROCEDURES ACT AND RESPONSE TO GOVERNMENTS
                   NOTICE OF FILING by Reality Leigh Winner (Bell, John) (Entered:
                   09/11/2017)
09/11/2017   81    REPLY TO RESPONSE to Motion by USA as to Reality Leigh Winner re 68
                   MOTION to Amend/Correct 66 Scheduling Order (Edelstein, Julie) (Entered:
                   09/11/2017)
09/12/2017   82    Defendant's Objection to the Government Proceeding Ex Parte, Response to
                   Government's Notice of Filing [Doc. 62], and Request for a Hearing by
                   Reality Leigh Winner (Bell, John) Modified on 9/13/2017 (lcw). (Entered:
                   09/12/2017)
09/13/2017   83    NOTICE OF HEARING ON MOTION in case as to Reality Leigh Winner 69
                   First MOTION Exclude Time From Speedy Trial Calculation , 68 MOTION
                   to Amend/Correct 66 Scheduling Order 82 Defendant's Objection to the
                   Government Proceeding Ex Parte 62 . Motion Hearing set for 9/13/2017 02:00
                   PM in Augusta − 1st Floor before Magistrate Judge Brian K. Epps. (lcw)
                   (Entered: 09/13/2017)
09/14/2017   84    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of (Open) Status
                   Conference Proceedings as to Reality Leigh Winner held on 8/30/2017, before
                   Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 10/5/2017.
                   Redacted Transcript Deadline set for 10/16/2017. Release of Transcript

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                   Restriction set for 12/13/2017. (Davenport, Lisa) (Entered: 09/14/2017)
09/14/2017   85    Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Arraignment as to Reality Leigh Winner (1) Count 1s held on 9/14/2017,
                   Plea of Not Guilty on counts 1s. (Court Reporter Lisa Davenport.) (lcw)
                   (Entered: 09/14/2017)
09/19/2017         MOTION TO REOPEN DETENTION HEARING 87 REFERRED to
                   Magistrate Judge Brian K. Epps. (lcw) Modified on 9/22/2017 . (Entered:
                   09/19/2017)
09/20/2017   88    MEMORANDUM OR RESPONSE in Support by USA as to Reality Leigh
                   Winner re 68 MOTION to Amend/Correct 66 Scheduling Order (Edelstein,
                   Julie) (Entered: 09/20/2017)
09/21/2017   89    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Arraignment and
                   Motions Proceedings as to Reality Leigh Winner held on 9/14/17, before
                   Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 10/12/2017.
                   Redacted Transcript Deadline set for 10/23/2017. Release of Transcript
                   Restriction set for 12/20/2017. (Davenport, Lisa) (Entered: 09/21/2017)
09/21/2017   90    NOTICE OF HEARING as to Reality Leigh Winner. Second Detention
                   Hearing set for 9/29/2017 10:00 AM in Augusta − 1st Floor before Magistrate
                   Judge Brian K. Epps. COUNSEL FOR THE GOVERNMENT IS DIRECTED
                   TO FILE THEIR BRIEF IN OPPOSITION NO LATER THAN TUESDAY,
                   SEPTEMBER 26, 2017.(lcw) (Entered: 09/21/2017)
09/21/2017   91    ******* MOTION to Withdraw Document , MOTION for Leave to File
                   Substitute Pleading Regarding Second Detention Hearing by Brett A. Switzer
                   as to Reality Leigh Winner. Responses due by 10/5/2017. (Attachments: # 1
                   Text of Proposed Order)(Switzer, Brett) Modified on 9/22/2017 (Hodge,
                   Jamie). (Entered: 09/21/2017)
09/22/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 91
                   MOTION to Withdraw Document MOTION for Leave to File Substitute
                   Pleading Regadring Second Detention Hearing (lcw) (Entered: 09/22/2017)
09/22/2017   92    ORDER granting in part [91−1, 91−2] Motion to Withdraw and for Leave to
                   File Substitute Pleading Regarding Second Detention Hearing as to Reality
                   Leigh Winner (1). Signed by Magistrate Judge Brian K. Epps on 09/22/2017.
                   (lcw) (Entered: 09/22/2017)
09/22/2017   93    ORDER granting 69 Motion Exclude Time from Speedy Trial Calculation as
                   to Reality Leigh Winner (1). Signed by Magistrate Judge Brian K. Epps on
                   09/22/2017. (lcw) (Entered: 09/22/2017)
09/22/2017   94    ORDER denying without prejudice Government's Ex Parte In Camera, Under
                   Seal Motion and Memorandum of Law for a Protective Order (See doc. no.
                   62) as to Reality Leigh Winner. The government may refile, ex parte, their
                   motion on or before 9/28/2017. Defendant shall file ex parte her defense

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                   theories on or before October 5, 2017. Signed by Magistrate Judge Brian K.
                   Epps on 09/22/2017. (lcw) (Entered: 09/22/2017)
09/22/2017    95   NOTICE of Filing by USA (Edelstein, Julie) (Entered: 09/22/2017)
09/22/2017   300   NOTICE OF FILING OF OFFICIAL CLASSIFIED TRANSCRIPT of Ex
                   parte Hearing Proceedings as to Reality Leigh Winner held on 09/14/2017
                   before Judge Magistrate Judge Brian K. Epps. Court Reporter/Transcriber Lisa
                   Davenport. (lcw) (Entered: 05/31/2018)
09/23/2017    96   MOTION for Release from Custody by John C. Bell, Jr as to Reality Leigh
                   Winner. Responses due by 10/10/2017. (Attachments: # 1 Briefs, # 2 Exhibit
                   A to brief)(Bell, John) (Entered: 09/23/2017)
09/24/2017    97   AFFIDAVIT by Reality Leigh Winner 96 MOTION for Release from Custody
                   filed by Reality Leigh Winner (Attachments: # 1 Certificate of Service)(Bell,
                   John) (Entered: 09/24/2017)
09/24/2017    98   AFFIDAVIT by Reality Leigh Winner 96 MOTION for Release from Custody
                   filed by Reality Leigh Winner (Attachments: # 1 Certificate of Service)(Bell,
                   John) (Entered: 09/24/2017)
09/25/2017         DOCKETED IN ERROR (lcw) Modified on 9/25/2017 (lcw). (Entered:
                   09/25/2017)
09/25/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 96
                   MOTION for Release from Custody (lcw) (Entered: 09/25/2017)
09/27/2017    99   RESPONSE to Motion by USA as to Reality Leigh Winner re 96 MOTION
                   for Release from Custody (Attachments: # 1 Exhibit A)(Solari, Jennifer)
                   (Entered: 09/27/2017)
09/27/2017   100   RESPONSE to Motion by USA as to Reality Leigh Winner re 96 MOTION
                   for Release from Custody with amended Exhibit A (Attachments: # 1 Exhibit
                   A − amended)(Solari, Jennifer) (Entered: 09/27/2017)
09/29/2017   101   CLASSIFIED ORDER granting Govt's Motion [Doc. 95] as to Reality Leigh
                   Winner. Signed by Magistrate Judge Brian K. Epps on 09/25/2017. (lcw)
                   (Entered: 09/29/2017)
09/29/2017   103   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Detention Hearing as to Reality Leigh Winner held on 9/29/2017 (Court
                   Reporter Lisa Davenport.) (lcw) (Entered: 10/02/2017)
09/29/2017   104   EXHIBIT LIST by USA as to Reality Leigh Winner (lcw) (Entered:
                   10/02/2017)
09/29/2017   105   WITNESS LIST by USA as to Reality Leigh Winner (lcw) (Entered:
                   10/02/2017)
09/29/2017   106   CLASSIFIED EXHIBIT LIST by Reality Leigh Winner (lcw). (Entered:
                   10/02/2017)
09/29/2017   108   GOVT EXHIBIT 3 by USA. (lcw) (Entered: 10/03/2017)
09/29/2017   109   GOVT EXHIBITS 4, 6 and 7 by USA. (lcw) (Entered: 10/03/2017)
09/29/2017   110   GOVT EXHIBITS 8−14 by USA. (lcw) (Entered: 10/03/2017)
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09/30/2017   102   NOTICE of Filing by USA (Edelstein, Julie) (Entered: 09/30/2017)
10/03/2017   111   REPLY TO RESPONSE to Motion by Reality Leigh Winner re 96 MOTION
                   for Release from Custody (Switzer, Brett) (Entered: 10/03/2017)
10/03/2017   112   BRIEF Regarding Certain Elements of the Offense by Reality Leigh Winner
                   94 Order, (Attachments: # 1 Exhibit A − Harold Edgar & Benno C. Schmidt,
                   Jr., The Espionage Statutes & Pub. of Def. Info., 73 Colum. L. Rev. 929
                   (1973))(Switzer, Brett) (Entered: 10/03/2017)
10/04/2017   113   MOTION for Leave of Absence as to USA for dates of : October 19, 2017 −
                   October 20, 2017. Responses due by 10/18/2017. (Solari, Jennifer) (Entered:
                   10/04/2017)
10/05/2017   114   ORDER granting 113 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 10/05/2017. (lcw)
                   (Entered: 10/05/2017)
10/05/2017   115   ORDER denying 96 Motion for Release from Custody as to Reality Leigh
                   Winner (1). Signed by Magistrate Judge Brian K. Epps on 10/05/2017. (lcw)
                   (Entered: 10/05/2017)
10/05/2017   116   ORDER granting in part 68 Motion to Amend/Correct as to Reality Leigh
                   Winner (1). Signed by Magistrate Judge Brian K. Epps on 10/05/2017. (lcw)
                   (Entered: 10/05/2017)
10/05/2017   117   NOTICE of Filing by Reality Leigh Winner (Barnard, Thomas) (Entered:
                   10/05/2017)
10/06/2017   118   APPEAL OF MAGISTRATE JUDGE DECISION to District Court by Reality
                   Leigh Winner ( Filing fee $ 37 receipt number 113J−2245282.) (Attachments:
                   # 1 Exhibit A − September 14, 2017 Transcript of Proceedings)(Switzer, Brett)
                   Modified on 11/27/2017 (maa). (Entered: 10/06/2017)
10/06/2017   119   NOTICE of Objection to Government's Second Ex Parte, In Camera, Under
                   Seal Motion and Memorandum of Law Pursuant to CIPA § 4 noticed at DE
                   102 by Reality Leigh Winner re 102 Notice (Other) (Switzer, Brett) (Entered:
                   10/06/2017)
10/10/2017   299   NOTICE OF FILING OF OFFICIAL CLASSIFIED TRANSCRIPT of
                   Detention Hearing Proceedings as to Reality Leigh Winner held on
                   09/29/2017 before Judge Magistrate Judge Brian K. Epps. Court
                   Reporter/Transcriber Lisa Davenport. (lcw) (Entered: 05/31/2018)
10/12/2017   120   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of (Open) Detention
                   Proceedings as to Reality Leigh Winner held on 9/29/2017, before Judge BKE.
                   Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 11/2/2017.
                   Redacted Transcript Deadline set for 11/13/2017. Release of Transcript
                   Restriction set for 1/10/2018. (Davenport, Lisa) (Entered: 10/12/2017)
10/13/2017   121

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                   MOTION for Leave of Absence as to USA for dates of : October 27, 2017.
                   Responses due by 10/27/2017. (Solari, Jennifer) (Entered: 10/13/2017)
10/13/2017   122   RESPONSE by USA as to Reality Leigh Winner (Attachments: # 1
                   Exhibit)(Edelstein, Julie) (Entered: 10/13/2017)
10/13/2017   123   RESPONSE by USA as to Reality Leigh Winner re 118 Appeal of Magistrate
                   Judge Decision to District Court (Edelstein, Julie) (Entered: 10/13/2017)
10/16/2017   124   NOTICE of Intent to File Reply in Support of Defendant's Brief Regarding
                   Certain Elements of the Offense by Reality Leigh Winner (Switzer, Brett)
                   (Entered: 10/16/2017)
10/16/2017   125   NOTICE of Intent to File Reply in Support of Defendant's Appeal of
                   Magistrate Judge's Decision by Reality Leigh Winner (Switzer, Brett)
                   (Entered: 10/16/2017)
10/17/2017   126   THIRD AMENDED SCHEDULING ORDER as to Reality Leigh Winner.
                   Signed by Magistrate Judge Brian K. Epps on 10/17/2017. (lcw) (Entered:
                   10/17/2017)
10/19/2017   127   ORDER granting 121 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 10/19/2017. (lcw)
                   (Entered: 10/19/2017)
10/19/2017   128   APPEAL OF MAGISTRATE JUDGE DECISION to District Court by Reality
                   Leigh Winner ( Filing fee $ 37 receipt number 113J−2252597.) (Whitley, Joe)
                   (Entered: 10/19/2017)
10/19/2017   129   NOTICE of Filing by Reality Leigh Winner (Barnard, Thomas)(Redacted
                   Document added on 3/1/2018 pursuant to 58 and 172 )(lcw). Modified on
                   3/1/2018 (lcw). Modified on 3/1/2018 (lcw). (Entered: 10/19/2017)
10/19/2017   130   MEMORANDUM OR RESPONSE in Support by Reality Leigh Winner re 42
                   MOTION for Protective Order Pursuant to Sec 3 of Classified Information
                   Procedures Act (Whitley, Joe) (Entered: 10/19/2017)
10/26/2017   131   RESPONSE by USA as to Reality Leigh Winner re 128 Appeal of Magistrate
                   Judge Decision to District Court (Edelstein, Julie) (Entered: 10/26/2017)
10/26/2017   132   BRIEF DEFENDANTS REPLY BRIEF REGARDING THE ELEMENTS OF
                   THE OFFENSE UNDER 18 U.S.C. § 793(e) AS THEY RELATE TO THE
                   GOVERNMENTS EX PARTE WITHHOLDING OF DISCOVERY UNDER
                   CIPA § 4 by Reality Leigh Winner 122 Response filed by USA (Barnard,
                   Thomas) (Entered: 10/26/2017)
10/26/2017   133   NOTICE Of Filing by Reality Leigh Winner (Barnard, Thomas) (Entered:
                   10/26/2017)
10/27/2017   134   MOTION for Leave of Absence as to USA for dates of : November 6−8, 2017.
                   Responses due by 11/13/2017. (Attachments: # 1 Text of Proposed
                   Order)(Edelstein, Julie) (Entered: 10/27/2017)
10/27/2017   135   MOTION for Leave of Absence as to USA for dates of : November 6 and 7,
                   2017. Responses due by 11/13/2017. (Attachments: # 1 Text of Proposed
                   Order)(Aaron, David) (Entered: 10/27/2017)

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10/27/2017   137   ORDER as to Reality Leigh Winner. The Court will hold a classified hearing
                   on Defendant's Expedited Motion to Compel (Doc. 129) on 11/3/2017 at 10:00
                   am in Augusta. Signed by Magistrate Judge Brian K. Epps on 10/27/2017.
                   (lcw) (Entered: 10/27/2017)
10/27/2017   138   ORDER granting 135 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 10/27/2017. (lcw)
                   (Entered: 10/27/2017)
10/27/2017   139   ORDER granting 134 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 10/27/2017. (lcw)
                   (Entered: 10/27/2017)
10/27/2017   140   BRIEF DEFENDANTS REPLY BRIEF REGARDING OBJECTION TO
                   MAGISTRATE JUDGES SEPTEMBER 22, 2017 ORDER [DOC. NO. 94]
                   AND REQUEST FOR A HEARING by Reality Leigh Winner 118 Appeal of
                   Magistrate Judge Decision to District Court filed by Reality Leigh Winner, 94
                   Order, (Whitley, Joe) (Entered: 10/27/2017)
10/30/2017   141   NOTICE DEFENDANT'S NOTICE OF INTENT TO FILE REPLY IN
                   SUPPORT OF DEFENDANT'S APPEAL OF THE MAGISTRATE JUDGE'S
                   DETENTION ORDER AND REQUEST FOR HEARING by Reality Leigh
                   Winner re 131 Response, 128 Appeal of Magistrate Judge Decision to District
                   Court (Switzer, Brett) (Entered: 10/30/2017)
11/02/2017   142   NOTICE of Filing by USA (Edelstein, Julie) (Redacted Document added on
                   12/21/2017 pursuant to 58 and 172 ) (lcw). Modified on 12/21/2017 (lcw).
                   (Entered: 11/02/2017)
11/02/2017   143   STATUS REPORT DEFENDANT'S STATUS UPDATE AND MOTION FOR
                   CLARIFICATION AND A HEARING by Reality Leigh Winner (Attachments:
                   # 1 Exhibit EXHIBIT A)(Whitley, Joe) Modified on 11/3/2017 (lcw).
                   (Entered: 11/02/2017)
11/03/2017   144   CLASSIFIED EX PARTE EXHIBIT LIST by USA as to Reality Leigh
                   Winner (lcw) (Entered: 11/03/2017)
11/03/2017   145   Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:Ex
                   Parte Classified Hearing as to Reality Leigh Winner held on 11/3/2017. (Court
                   Reporter Lisa Davenport.) (lcw) (Entered: 11/03/2017)
11/03/2017   146   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Classified Hearing re: Motion to Compel as to Reality Leigh Winner
                   held on 11/3/2017 (Court Reporter Lisa Davenport.) (lcw) (Entered:
                   11/03/2017)
11/03/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 143
                   MOTION for Hearing (lcw) (Entered: 11/03/2017)
11/03/2017   147   ORDER granting in part 143 Motion for Clarification as to Reality Leigh
                   Winner (1). Signed by Magistrate Judge Brian K. Epps on 11/03/2017. (lcw)
                   (Entered: 11/03/2017)
11/06/2017   148   ORDER as to Reality Leigh Winner. Signed by Magistrate Judge Brian K.
                   Epps on 11/06/2017. The Court orders the parties to file a joint status report on
                   or before 5:00 pm on Monday, 11/13/2017 itemizing all unresolved disputes

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                   regarding the Defendant's Motion to Compel. A classified hearing is scheduled
                   for Thursday, 11/16/2017 at 10:00 am in Augusta to resolve any unresolved
                   disputes. (lcw) (Entered: 11/06/2017)
11/06/2017   149   ORDER denying Defendant's appeal (Doc. 118) and affirming the Magistrate
                   Judge's Order (Doc. 94) as to Reality Leigh Winner. Signed by Chief Judge J.
                   Randal Hall on 11/06/2017. (lcw) (Entered: 11/06/2017)
11/07/2017   151   JOINT MOTION to Seal Document (Document Sealed) by Jennifer Gayle
                   Solari, David C. Aaron, Julie Edelstein, Joe D. Whitley, Matthew S. Chester,
                   Brett A. Switzer, John C. Bell, Jr., Titus T. Nichols, Jill E. McCook, and
                   Thomas H. Barnard as to Reality Leigh Winner. REFERRED to Judge Brian
                   K. Epps.(lcw) (Entered: 11/09/2017)
11/08/2017   150   NOTICE of Filing by USA (Edelstein, Julie) (Entered: 11/08/2017)
11/09/2017   152   ORDER granting Joint Motion to Seal (Doc. 151) as to Reality Leigh Winner
                   (Document Sealed). Signed by Magistrate Judge Brian K. Epps on 11/09/2017.
                   (lcw) (Entered: 11/09/2017)
11/09/2017   153   JOINT MOTION for Amended Scheduling Order (Document Sealed) by
                   Jennifer Gayle Solari, David C. Aaron, Julie Edelstein, Joe D. Whitley,
                   Matthew S. Chester, Brett A. Switzer, John C. Bell, Jr., Titus T. Nichols, Jill
                   E. McCook, Thomas H. Barnard as to Reality Leigh Winner. REFERRED to
                   Judge Brian K. Epps.(lcw) (Entered: 11/09/2017)
11/09/2017   154   ORDER granting Joint Motion for Amended Scheduling Order (Doc. 153) as
                   to Reality Leigh Winner (Document Sealed). Signed by Magistrate Judge
                   Brian K. Epps on 11/09/2017. (lcw) (Entered: 11/09/2017)
11/09/2017   155   FOURTH AMENDED SCHEDULING ORDER as to Reality Leigh Winner.
                   Signed by Magistrate Judge Brian K. Epps on 11/09/2017. (lcw) (Entered:
                   11/09/2017)
11/09/2017         Set/Reset Hearings as to Reality Leigh Winner: The Status
                   Conference/Hearing on Discovery Disputes scheduled for 11/16/2017 in
                   Augusta has been RESCHEDULED for 11/30/2017 at 10:00 AM in Augusta
                   before Magistrate Judge Brian K. Epps. (lcw) (Entered: 11/09/2017)
11/09/2017   156   BRIEF Reply Brief in Support of Appeal of the Magistrate Judge's Detention
                   Order and Request for A Hearing of Appeal Detention Order by Reality Leigh
                   Winner (Whitley, Joe) (Entered: 11/09/2017)
11/14/2017   157   NOTICE of Intent to File Sur−reply by USA re 156 Remark, 128 Appeal of
                   Magistrate Judge Decision to District Court (Solari, Jennifer) (Entered:
                   11/14/2017)
11/21/2017   158   NOTICE of Filing Defendant's First CIPA § 5 Notice by Reality Leigh Winner
                   (Whitley, Joe) (Redacted Document added on 3/1/2018 pursuant to 58 and 172
                   (lcw). Modified on 3/1/2018 (lcw). (Entered: 11/21/2017)
11/21/2017   159   NOTICE of Filing of Ex Parte Motion for Issuance of Subpoenas Pursuant to
                   Rule 17 of FRCrP and Brief in Support of Motion by Reality Leigh Winner
                   (Whitley, Joe) (Entered: 11/21/2017)
11/21/2017   298

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                   NOTICE OF FILING OF OFFICIAL CLASSIFIED TRANSCRIPT of Motion
                   to Compel Proceedings as to Reality Leigh Winner held on 11/03/2017 before
                   Judge Magistrate Judge Brian K. Epps. Court Reporter/Transcriber Lisa
                   Davenport. (lcw) (Entered: 05/31/2018)
11/27/2017   160   RESPONSE by USA as to Reality Leigh Winner re 156 Remark (Edelstein,
                   Julie) (Entered: 11/27/2017)
11/27/2017   161   NOTICE OF HEARING as to Reality Leigh Winner. Ex Parte Hearing (Doc.
                   159) set for 11/30/2017 04:00 PM in Augusta − before Magistrate Judge Brian
                   K. Epps. (lcw) (Entered: 11/27/2017)
11/27/2017   162   NOTICE of Filing by USA (Edelstein, Julie) (Redacted document added on
                   12/21/2017 pursuant to 58 and 172 (lcw). Modified on 12/21/2017 (lcw).
                   (Entered: 11/27/2017)
11/27/2017   163   JUDGMENT ON APPEAL OF MAGISTRATE JUDGE DECISION TO
                   DISTRICT JUDGE as to Reality Leigh Winner re 128 Appeal of Magistrate
                   Judge Decision to District Court. The Court DENIES Defendant's appeal and
                   AFFIRMS the Magistrate Judge's Detention Order of October 5, 2017. (maa)
                   (Entered: 11/27/2017)
11/27/2017   164   ******* MOTION DEFENDANT'S MOTION TO LIFT
                   UNCONSTITUTIONAL LIMITATIONS AND MOTION TO ENFORCE
                   RELEVANT PROVISIONS OF THE PROTECTIVE ORDER; AND
                   REQUEST FOR HEARING by Joe D. Whitley as to Reality Leigh Winner.
                   Responses due by 12/11/2017. (Attachments: # 1 Briefs BRIEF IN SUPOPRT
                   OF MOTION TO LIFT, # 2 Exhibit EXHIBIT A − KIM − REDACTION
                   ORDER DOC 174)(Whitley, Joe). Added MOTION on 12/5/2017 (lcw).
                   Added MOTION on 12/5/2017 (lcw). (Entered: 11/27/2017)
11/27/2017   165   MOTION for Leave to File MOTION FOR BILL OF PARTICULARS by Joe
                   D. Whitley as to Reality Leigh Winner. Responses due by 12/11/2017.
                   (Attachments: # 1 Exhibit EXHIBIT 1 − MOTION FOR BILL OF
                   PARTICULARS)(Whitley, Joe) (Entered: 11/27/2017)
11/28/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 164
                   MOTION DEFENDANT'S MOTION TO LIFT UNCONSTITUTIONAL
                   LIMITATIONS AND MOTION TO ENFORCE RELEVANT PROVISIONS
                   OF THE PROTECTIVE ORDER; AND REQUEST FOR HEARING , 165
                   MOTION for Leave to File MOTION FOR BILL OF PARTICULARS (lcw)
                   (Entered: 11/28/2017)
11/29/2017   166   NOTICE Notice of Filing by Reality Leigh Winner (Whitley, Joe) (Entered:
                   11/29/2017)
11/30/2017   170   CLASSIFIED Minute Entry for proceedings held before Magistrate Judge
                   Brian K. Epps: Discovery Hearing as to Reality Leigh Winner held on
                   11/30/2017 (Court Reporter Lisa Davenport.) (lcw) (Entered: 12/04/2017)
12/01/2017   167   MEMORANDUM OR RESPONSE in Support by Reality Leigh Winner re 42
                   MOTION for Protective Order Pursuant to Sec 3 of Classified Information
                   Procedures Act (Switzer, Brett) (Entered: 12/01/2017)
12/01/2017   168   NOTICE OF FILING of Defendant's Second CIPA Section 5 Notice by
                   Reality Leigh Winner (lcw) (Redacted Document added on 3/1/2018 pursuant
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                   to 58 and 172 ) (lcw). Modified on 3/1/2018 (lcw). (Entered: 12/01/2017)
12/01/2017   169   CLASSIFIED EXHIBIT LIST by Reality Leigh Winner (lcw) (Entered:
                   12/04/2017)
12/01/2017   171   CLASSIFIED Minute Entry for proceedings held before Magistrate Judge
                   Brian K. Epps: Discovery Hearing as to Reality Leigh Winner held on
                   12/1/2017 (Court Reporter Lisa Davenport.) (lcw) (Entered: 12/04/2017)
12/05/2017   172   ORDER granting in part and denying in part Defendant's Motion to Compel
                   129 ; deferring ruling on [164−1] Defendant's request to conduct certain
                   internet searches; granting in part and denying in part [164−2, 164−3]
                   Defendant's requests related to defense communication protocols and redacted
                   filings for the public docket as to Reality Leigh Winner. The Court will hold a
                   classified hearing on 12/19/2017 at 10:00 am in Augusta, Georgia concerning
                   Defendant's First and Second CIPA 5 Notices [158, 168], Defendant's request
                   to conduct certain internet searches [164−1] and Defendant's request for Rule
                   17 subpoenas. Defense counsel shall file formulated subpoenas incorporating
                   the Court's recent rulings on or before noon on 12/18/2017. The Government
                   shall file their brief specifying the portions of the Defendant's Section 5 filings
                   they deem to be insufficient. Signed by Magistrate Judge Brian K. Epps on
                   12/05/2017. (lcw) Modified on 12/5/2017 (lcw). (Entered: 12/05/2017)
12/06/2017   173   ORDER granting [102, 150] as to Reality Leigh Winner. Signed by Magistrate
                   Judge Brian K. Epps on 12/06/2017. (lcw) Modified on 12/6/2017 (lcw).
                   (Entered: 12/06/2017)
12/06/2017   174   CLASSIFIED EX PARTE ORDER granting [102 and 150] as to Reality Leigh
                   Winner. Signed by Magistrate Judge Brian K. Epps on 12/06/2017. (lcw)
                   (Entered: 12/06/2017)
12/06/2017   175   First MOTION for Reciprocal Discovery by Jennifer Gayle Solari as to
                   Reality Leigh Winner. Responses due by 12/20/2017. (Solari, Jennifer)
                   (Entered: 12/06/2017)
12/07/2017   176   MOTION DEFENDANT'S UNOPPOSED MOTION FOR WRITTEN
                   ORDER AND EXTENSION OF TIME by Joe D. Whitley as to Reality Leigh
                   Winner. Responses due by 12/21/2017. (Whitley, Joe) (Entered: 12/07/2017)
12/08/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 175
                   First MOTION for Reciprocal Discovery , 176 MOTION DEFENDANT'S
                   UNOPPOSED MOTION FOR WRITTEN ORDER AND EXTENSION OF
                   TIME (lcw) (Entered: 12/08/2017)
12/08/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 63
                   MOTION to Suppress Defendant's Statements and Request for Evidentiary
                   Hearing (lcw) (Entered: 12/08/2017)
12/08/2017   177   ORDER granting in part and denying in part 176 Motion for Written Order
                   and Extension of Time as to Reality Leigh Winner (1). Signed by Magistrate
                   Judge Brian K. Epps on 12/08/2017. The Defendant's request for a written
                   order is denied; the Defendant's request for extensions of time is granted in
                   part. The classified hearing on 12/19/2017 will proceed as scheduled. (lcw)
                   (Entered: 12/08/2017)
12/11/2017   178
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                   NOTICE DEFENDANT'S NOTICE OF APPEAL OF DETENTION ORDER
                   by Reality Leigh Winner re 115 Order on Motion for Release from Custody,
                   27 Order of Detention, 163 Judgment on Appeal of Magistrate Judge Decision,
                   (Attachments: # 1 Exhibit District Judge Order on Detention 163 , # 2 Exhibit
                   Detention Order 27 , # 3 Exhibit Detention Order 115 )(Whitley, Joe)
                   (Entered: 12/11/2017)
12/11/2017   179   NOTICE OF APPEAL (Interlocutory) by Reality Leigh Winner re 115 Order
                   on Motion for Release from Custody, 27 Order of Detention. Filing fee $ 505,
                   receipt number 113J−2282578. (Attachments: # 1 Exhibit A−District Judge
                   Order on Detention Doc. 163, # 2 Exhibit B−Initial Detention Order Doc. 27,
                   # 3 Exhibit C−Detention Order Doc. 115)(Whitley, Joe) (Entered: 12/11/2017)
12/12/2017   180   Transmission of Notice of Appeal and Docket Sheet as to Reality Leigh
                   Winner to US Court of Appeals. Related Documents: 179 Notice of Appeal −
                   Interlocutory. Other Appeals: No; Judge Appealed: J. Randal Hall; Court
                   Reporter: Lisa Davenport; Fee Paid: Yes. (Attachments: # 1 Docket
                   Sheet)(lcw) (Entered: 12/12/2017)
12/12/2017   181   MOTION to Continue DEFENDANTS MOTION TO CONTINUE
                   DECEMBER 19, 2017 HEARING REGARDING CIPA NOTICES by Joe D.
                   Whitley as to Reality Leigh Winner. Responses due by 12/26/2017. (Whitley,
                   Joe) (Entered: 12/12/2017)
12/13/2017         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 181
                   MOTION to Continue DEFENDANTS MOTION TO CONTINUE
                   DECEMBER 19, 2017 HEARING REGARDING CIPA NOTICES (lcw)
                   (Entered: 12/13/2017)
12/14/2017   182   NOTICE of Filing by USA (Edelstein, Julie)(Redacted document added on
                   1/11/2018 pursuant to 58 and 172 (lcw). Modified on 1/11/2018 (lcw).
                   (Entered: 12/14/2017)
12/14/2017   183   ORDER granting 181 Motion to Continue and cancels the 12/19/2017 hearing
                   regarding the sufficiency of Defendant's CIPA notices. The Court will conduct
                   a classified hearing regarding defense Internet searches on 12/19/2017 at
                   10:00 am in Augusta. The Court will conduct an unclassified hearing on
                   12/19/2017 at 11:00 am in Augusta to discuss the status of the case and all
                   remaining deadlines. Counsel may attend the unclassified hearing via
                   telephone. See order for additional instructions. Signed by Magistrate Judge
                   Brian K. Epps on 12/14/2017. (lcw) (Entered: 12/14/2017)
12/15/2017   184   MOTION for Leave of Absence as to USA for dates of : January 12−19, 2018.
                   Responses due by 12/29/2017. (Attachments: # 1 Text of Proposed
                   Order)(Edelstein, Julie) (Entered: 12/15/2017)
12/18/2017   185   MOTION for Leave of Absence as to USA for dates of : January 2−5 and
                   January 18, 2018. Responses due by 1/2/2018. (Solari, Jennifer) (Entered:
                   12/18/2017)
12/18/2017   186   ORDER granting 184 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 12/18/2017. (lcw)
                   (Entered: 12/18/2017)
12/18/2017   187

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                   RESPONSE in Opposition by USA as to Reality Leigh Winner re 165
                   MOTION for Leave to File MOTION FOR BILL OF PARTICULARS
                   (Edelstein, Julie) (Entered: 12/18/2017)
12/18/2017   188   NOTICE of Filing by USA (Edelstein, Julie)(Redacted document added on
                   1/11/2018 pursuant to 58 and 172 (lcw). Modified on 1/11/2018 (lcw).
                   (Entered: 12/18/2017)
12/18/2017   189   RESPONSE to Motion by USA as to Reality Leigh Winner re 63 MOTION to
                   Suppress Defendant's Statements and Request for Evidentiary Hearing
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                   Exhibit E, # 6 Exhibit F)(Solari, Jennifer) (Entered: 12/18/2017)
12/19/2017   190   NOTICE of Filing by USA (Edelstein, Julie) (Redacted document added on
                   1/11/2018 pursuant to 58 and 172 (lcw). Modified on 1/11/2018 (lcw).
                   (Entered: 12/19/2017)
12/19/2017   191   ORDER granting 185 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 12/19/2017. (lcw)
                   (Entered: 12/19/2017)
12/19/2017   192   ORDER staying all CIPA deadlines until final ruling on discovery appeal;
                   directing the parties to file a joint status report by 01/10/2018; and scheduling
                   a classified status conference with defense counsel and counsel for NSA for
                   01/23/2018 at 10:00 am in Augusta as to Reality Leigh Winner. Signed by
                   Magistrate Judge Brian K. Epps on 12/19/2017. (lcw) (Entered: 12/19/2017)
12/19/2017   195   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Status Conference as to Reality Leigh Winner held on 12/19/2017 (Court
                   Reporter Lisa Davenport.) (lcw) (Additional attachment(s) added on
                   1/22/2018: # 1 Supplement) (lcw). (Entered: 12/20/2017)
12/20/2017   193   RESPONSE to Motion by Reality Leigh Winner re 175 First MOTION for
                   Reciprocal Discovery (Whitley, Joe) (Entered: 12/20/2017)
01/03/2018   196   COURT REPORTER ACKNOWLEDGMENT and Notification that
                   Transcript has been filed in District Court for proceedings held on 06/08/2017;
                   09/29/2017 before Magistrate Judge Brian K. Epps. (maa) (Entered:
                   01/03/2018)
01/03/2018   197   TRANSCRIPT REQUEST by Reality Leigh Winner for proceedings held on
                   06/08/2017 and 09/29/2017 before Judge Brian Epps. (Whitley, Joe) (Entered:
                   01/03/2018)
01/03/2018   206   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Classified Discovery
                   Hearing as to Reality Leigh Winner held on 11/30/2017 and 12/1/2017 before
                   Magistrate Judge Brian K. Epps. Court Reporter/Transcriber Lisa Davenport,
                   Telephone number 706−823−6468. (Transcript Redaction Policy Issued or
                   Click here to view Transcript Redaction Policy) Redaction Request due
                   1/24/2018. Redacted Transcript Deadline set for 2/5/2018. (lcw) (Entered:
                   01/19/2018)
01/04/2018   198   COURT REPORTER ACKNOWLEDGMENT and Notification that
                   Transcript has been filed in District Court for proceedings held on 06/08/2017
                   and 09/29/2017 before Magistrate Judge Brian K. Epps. (lcw) (Entered:
                   01/05/2018)
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01/08/2018   199   STATUS REPORT (Joint) by USA as to Reality Leigh Winner (Edelstein,
                   Julie) (Entered: 01/08/2018)
01/16/2018   200   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Status Conference
                   Proceedings as to Reality Leigh Winner held on 12/19/17, before Judge BKE.
                   Court Reporter/Transcriber Lisa Davenport, Telephone number
                   (706)823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 2/6/2018. Redacted
                   Transcript Deadline set for 2/16/2018. Release of Transcript Restriction set for
                   4/16/2018. (Davenport, Lisa) Modified on 4/9/2018 (lcw). (Entered:
                   01/16/2018)
01/16/2018   201   NOTICE OF HEARING ON MOTION in case as to Reality Leigh Winner 63
                   MOTION to Suppress Defendant's Statements : Motion Hearing set for
                   2/27/2018 10:00 AM in Augusta − before Magistrate Judge Brian K. Epps.
                   (lcw) (Entered: 01/16/2018)
01/17/2018   202   MOTION for Leave to File Excess Pages regarding Defendant's Appeal on
                   Motion to Compel by Joe D. Whitley as to Reality Leigh Winner. Responses
                   due by 1/31/2018. (Whitley, Joe) (Entered: 01/17/2018)
01/17/2018   203   MOTION to Amend/Correct 202 MOTION for Leave to File Excess Pages
                   regarding Defendant's Appeal on Motion to Compel filed by Reality Leigh
                   Winner by Joe D. Whitley as to Reality Leigh Winner. Responses due by
                   1/31/2018. (Attachments: # 1 Text of Proposed Order)(Whitley, Joe) (Entered:
                   01/17/2018)
01/18/2018   204   ORDER granting in part 202 Motion for Leave to File Excess Pages as to
                   Reality Leigh Winner (1). Signed by Chief Judge J. Randal Hall on
                   01/18/2018. (lcw) (Entered: 01/18/2018)
01/19/2018   205   TEXT ORDER as to Reality Leigh Winner. At the request of defense counsel,
                   the status conference scheduled for January 23, 2018 is cancelled. If there are
                   any remaining issues concerning defense Internet searches, defense counsel
                   shall promptly notify the Court of the need for a hearing. Signed by Magistrate
                   Judge Brian K. Epps on 01/19/2018. (lcw) (Entered: 01/19/2018)
01/19/2018   207   MOTION to Withdraw as Attorney by Jill E. McCook. by Joe D. Whitley as to
                   Reality Leigh Winner. Responses due by 2/2/2018. (Attachments: # 1 Exhibit,
                   # 2 Text of Proposed Order)(Whitley, Joe) (Entered: 01/19/2018)
01/19/2018   208   MOTION for Conference with Expert by Joe D. Whitley as to Reality Leigh
                   Winner. Responses due by 2/2/2018. (Attachments: # 1 Text of Proposed
                   Order)(Whitley, Joe) (Entered: 01/19/2018)
01/22/2018         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 208
                   MOTION for Conference with Expert (lcw) (Entered: 01/22/2018)
01/22/2018   209   ORDER granting 208 Motion for Conference as to Reality Leigh Winner (1).
                   Signed by Magistrate Judge Brian K. Epps on 01/22/2018. (lcw) (Entered:
                   01/22/2018)
01/22/2018   210
                                                                                                      23
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                   ORDER granting 207 Motion to Withdraw as Attorney. Jill E McCook
                   withdrawn from case as to Reality Leigh Winner (1). Signed by Chief Judge J.
                   Randal Hall on 01/22/2018. (lcw) (Entered: 01/22/2018)
01/23/2018   211   MOTION for Extension of Time to File Response/Reply as to 166 Notice
                   (Other), 188 Notice (Other) by Joe D. Whitley as to Reality Leigh Winner.
                   Responses due by 2/6/2018. (Attachments: # 1 Text of Proposed
                   Order)(Whitley, Joe) (Entered: 01/23/2018)
01/23/2018         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 211
                   MOTION for Extension of Time to File Response/Reply as to 166 Notice
                   (Other), 188 Notice (Other) (lcw) (Entered: 01/23/2018)
01/23/2018   212   ORDER granting 211 Motion for Extension of Time to File Response/Reply
                   as to Reality Leigh Winner (1). Signed by Magistrate Judge Brian L. Epps on
                   01/23/2018. (lcw) Modified on 1/23/2018 (lcw). (Entered: 01/23/2018)
01/23/2018   213   NOTICE OF FILING OF DEFENDANT'S REPLY IN SUPPORT OF
                   MOTION FOR BILL OF PARTICULARS by Reality Leigh Winner re 187
                   Response in Opposition, 165 MOTION for Leave to File MOTION FOR BILL
                   OF PARTICULARS (Switzer, Brett) (Redacted Document added on 2/13/2018
                   pursuant to 58 and 172 ) (lcw). Modified on 2/13/2018 (lcw). (Entered:
                   01/23/2018)
01/23/2018   214   NOTICE OF FILING OF DEFENDANT'S OBJECTIONS AND APPEAL OF
                   MAGISTRATE'S DECISION GRANTING IN PART AND DENYING IN PART
                   DFENDANT'S MOTION TO COMPEL DISCOVERY REQUESTS (AND
                   ATTACHED EXHIBITS) by Reality Leigh Winner re 129 Notice (Other), 162
                   Notice (Other) (Whitley, Joe) (Redacted Document added on 2/13/2018
                   pursuant to 58 and 172 )(lcw). Modified on 2/13/2018 (lcw). (Entered:
                   01/23/2018)
01/24/2018   215   REPLY TO RESPONSE to Motion by Reality Leigh Winner re 63 MOTION
                   to Suppress Defendant's Statements and Request for Evidentiary Hearing −−
                   Reply Brief in Further Support of Motion to Suppress Defendant's Statements
                   and Request for Evidentiary Hearing (Whitley, Joe) (Entered: 01/24/2018)
01/25/2018   216   MOTION for Leave to File Excess Pages by Julie Ann Edelstein as to Reality
                   Leigh Winner. Responses due by 2/8/2018. (Attachments: # 1 Text of
                   Proposed Order)(Edelstein, Julie) (Entered: 01/25/2018)
01/25/2018   217   ORDER granting 216 Motion for Leave to File Excess Pages as to Reality
                   Leigh Winner (1). Signed by Chief Judge J. Randal Hall on 01/25/2018. (lcw)
                   (Entered: 01/25/2018)
01/31/2018   218   MOTION Unopposed Motion to Stay Adjudication of Defendant's Motion in
                   Limine Regarding Government's Notice of Evidence Under Rule 404(b) and
                   Related Deadlines by Joe D. Whitley as to Reality Leigh Winner. Responses
                   due by 2/14/2018. (Attachments: # 1 Text of Proposed Order)(Whitley, Joe)
                   (Entered: 01/31/2018)
01/31/2018   219   ******* MOTION Motion to Adopt Redaction Procedures for Transcripts and
                   Motion to Enforce Redaction Procedures for Other Filings and Incorporated
                   Memorandum of Law in Support by Joe D. Whitley as to Reality Leigh
                   Winner. Responses due by 2/14/2018. (Attachments: # 1 Text of Proposed

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                   Order)(Whitley, Joe) (Entered: 01/31/2018)
01/31/2018         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 219
                   MOTION Motion to Adopt Redaction Procedures for Transcripts and Motion
                   to Enforce Redaction Procedures for Other Filings and Incorporated
                   Memorandum of Law in Support (lcw) (Entered: 01/31/2018)
01/31/2018   220   MANDATE of USCA (certified copy) as to Reality Leigh Winner re 179
                   Notice of Appeal − Interlocutory. (Attachments: # 1 USCA Notice)(lcw)
                   (Entered: 01/31/2018)
02/01/2018   221   ORDER ADOPTING 220 USCA MANDATE as to Reality Leigh Winner.
                   Signed by Chief Judge J. Randal Hall on 02/01/2018. (lcw) (Entered:
                   02/01/2018)
02/02/2018   222   MOTION for Leave of Absence as to USA for dates of : March 21−23 and
                   March 26, 2018. Responses due by 2/16/2018. (Attachments: # 1 Text of
                   Proposed Order Proposed Order)(Aaron, David) (Entered: 02/02/2018)
02/02/2018   223   MOTION for Leave of Absence as to USA for dates of : March 13−16, 2018.
                   Responses due by 2/16/2018. (Solari, Jennifer) (Entered: 02/02/2018)
02/05/2018   224   ORDER granting 223 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 02/05/2018. (lcw)
                   (Entered: 02/05/2018)
02/05/2018   225   ORDER granting 222 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 02/05/2018. (lcw)
                   (Entered: 02/05/2018)
02/06/2018   226   NOTICE of Filing by USA (Edelstein, Julie))(Redacted document added on
                   2/22/2018 pursuant to 58 and 172 )(lcw). Modified on 2/22/2018 (lcw).
                   (Entered: 02/06/2018)
02/08/2018   227   NOTICE OF INTENT TO FILE REPLY by Reality Leigh Winner re 214
                   Notice (Other), 226 Notice (Other) (Barnard, Thomas) (Entered: 02/08/2018)
02/20/2018   228   NOTICE of Filing by Reality Leigh Winner re 214 Notice (Other), 226 Notice
                   (Other) (Barnard, Thomas) (Redacted Document added on 03/26/2018
                   pursuant to 58 and 172 )(lcw). Modified on 3/26/2018 (lcw). (Entered:
                   02/20/2018)
02/27/2018   230   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Motion Hearing as to Reality Leigh Winner held on 2/27/2018 re 63
                   MOTION to Suppress Defendant's Statements by Reality Leigh Winner (Court
                   Reporter Lisa Davenport.) (lcw) (Entered: 02/28/2018)
02/27/2018   231   WITNESS LIST by USA as to Reality Leigh Winner (lcw) (Entered:
                   02/28/2018)
02/27/2018   232   EXHIBIT LIST by USA as to Reality Leigh Winner (lcw) (Entered:
                   02/28/2018)
02/27/2018   233   EXHIBIT LIST by Reality Leigh Winner (lcw) (Entered: 02/28/2018)
02/27/2018   234   GOVT EXHIBITS 2−4, and 6 (Suppression hearing) by USA. (lcw) (Entered:
                   03/02/2018)

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02/27/2018   235   DEFENDANT'S EXHIBITS 1−11 (Suppression Hearing) (lcw) (Entered:
                   03/02/2018)
02/28/2018   229   JUDGMENT ON APPEAL OF MAGISTRATE JUDGE DECISION TO
                   DISTRICT JUDGE as to Reality Leigh Winner re 214 Appeal of Magistrate
                   Judge Decision to District Court. The Court GRANTS IN PART AND
                   DENIES IN PART Defendant's Appeal 214 . (lcw) (lcw). (Entered:
                   02/28/2018)
03/07/2018   236   Proposed Joint Scheduling Order by USA as to Reality Leigh Winner
                   (Edelstein, Julie) Modified on 3/7/2018 (lcw). (Entered: 03/07/2018)
03/07/2018   237   NOTICE OF HEARING as to Reality Leigh Winner. Telephone Conference
                   re: Joint Proposed Scheduled Order set for 3/12/2018 at 03:00 PM before
                   Magistrate Judge Brian K. Epps. The parties will be notified via of the dial−in
                   instructions.(lcw) (Entered: 03/07/2018)
03/12/2018   238   Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:
                   Telephone Conference as to Reality Leigh Winner held on 3/12/2018 (Court
                   Reporter Lisa Davenport.) (lcw) Modified on 3/13/2018 (lcw). (Entered:
                   03/13/2018)
03/15/2018   239   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Telephone Conference as to Reality Leigh Winner held on 3/15/2018
                   (Court Reporter Lisa Davenport.) (lcw) (Entered: 03/15/2018)
03/15/2018   240   FIFTH AMENDED SCHEDULING ORDER as to Reality Leigh Winner.
                   Signed by Magistrate Judge Brian K. Epps on 03/15/2018. (lcw) (Entered:
                   03/15/2018)
03/19/2018   241   NOTICE OF HEARING as to Reality Leigh Winner. Telephonic Status
                   Conference set for 3/29/2018 03:30 PM in Augusta − 1st Floor before
                   Magistrate Judge Brian K. Epps. (lcw) (Entered: 03/19/2018)
03/21/2018   242   MOTION asking Court to require leave of court for all Rule 17(c)
                   early−production subpoenas, and for the Court to conduct a Nixon inquiry
                   prior to approving issuance of any such subpoena by Jennifer Gayle Solari as
                   to Reality Leigh Winner. Responses due by 4/4/2018. (Solari, Jennifer)
                   (Entered: 03/21/2018)
03/27/2018         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 242
                   MOTION asking Court to require leave of court for all Rule 17(c)
                   early−production subpoenas, and for the Court to conduct a Nixon inquiry
                   prior to approving issuance of any such subpoena (lcw) (Entered: 03/27/2018)
03/27/2018   243   NOTICE OF ATTORNEY APPEARANCE Amy E. Larson appearing for
                   USA. (Larson, Amy) (Entered: 03/27/2018)
03/29/2018   246   Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:
                   Telephonic Status Conference as to Reality Leigh Winner held on 3/29/2018
                   (Court Reporter Lisa Davenport.) (lcw) Modified on 3/30/2018 (lcw).
                   (Entered: 03/30/2018)
03/30/2018   244   NOTICE OF FILING OF ISSUANCE OF SUBPOENAS by Reality Leigh
                   Winner (Barnard, Thomas) (Entered: 03/30/2018)


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03/30/2018   245   NOTICE OF PROFFER REGARDING RULE 17 SUBPOENAS by Reality
                   Leigh Winner (Barnard, Thomas) (Entered: 03/30/2018)
04/04/2018   247   RESPONSE to Motion by Reality Leigh Winner re 242 MOTION asking
                   Court to require leave of court for all Rule 17(c) early−production subpoenas,
                   and for the Court to conduct a Nixon inquiry prior to approving issuance of
                   any such subpoena (Attachments: # 1 Exhibit A)(Whitley, Joe) (Entered:
                   04/04/2018)
04/06/2018   248   NOTICE of Intent to File Reply re 247 Response by USA. (Edelstein, Julie)
                   (Entered: 04/06/2018)
04/08/2018   249   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Suppression Motion
                   Proceedings as to Reality Leigh Winner held on 2/27/2018, before Judge BKE.
                   Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view <a href=redact.pl>Transcript Redaction Policy</a>) Redaction Request
                   due 4/30/2018. Redacted Transcript Deadline set for 5/9/2018. Release of
                   Transcript Restriction set for 7/9/2018. (Davenport, Lisa) (Entered:
                   04/08/2018)
04/10/2018   250   NOTICE OF HEARING as to Reality Leigh Winner. Classified Hearing for
                   Oral Argument on the Rule 17 Subpoenas set for 4/23/2018 09:00 AM in
                   Augusta − before Magistrate Judge Brian K. Epps. (lcw) (Entered:
                   04/10/2018)
04/11/2018   251   Consent MOTION to Continue April 23, 2018 Hearing by Joe D. Whitley as
                   to Reality Leigh Winner. Responses due by 4/25/2018. (Attachments: # 1 Text
                   of Proposed Order)(Whitley, Joe) (Entered: 04/11/2018)
04/12/2018   252   MOTION for Leave of Absence as to USA for dates of : June 18−21, 2018.
                   Responses due by 4/26/2018. (Solari, Jennifer) (Entered: 04/12/2018)
04/13/2018         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 251
                   Consent MOTION to Continue April 23, 2018 Hearing (lcw) (Entered:
                   04/13/2018)
04/13/2018   253   ORDER denying 251 Motion to Continue as to Reality Leigh Winner (1).
                   Signed by Magistrate Judge Brian K. Epps on 04/13/2018. (lcw) (Entered:
                   04/13/2018)
04/13/2018   254   ORDER granting 252 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 04/13/2018. (lcw)
                   (Entered: 04/13/2018)
04/13/2018   255   BRIEF Post−Hearing Brief in Support of Defendant's Motion to Suppress by
                   Reality Leigh Winner 63 MOTION to Suppress Defendant's Statements and
                   Request for Evidentiary Hearing filed by Reality Leigh Winner (Whitley, Joe)
                   (Entered: 04/13/2018)
04/13/2018   256   NOTICE OF FILING by Reality Leigh Winner. (Whitley, Joe) (Entered:
                   04/13/2018)

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04/16/2018   257   NOTICE OF HEARING as to Reality Leigh Winner. Telephone Conference
                   set for 4/16/2018 01:30 PM in Augusta − 1st Floor before Magistrate Judge
                   Brian K. Epps. (lcw) (Entered: 04/16/2018)
04/16/2018   258   MOTION for Leave to Appear Pro Hac Vice of Katherine Cicardo Mannino
                   Receipt Number 113J−2357522, Fee Amount $200,. Responses due by
                   4/30/2018. (Attachments: # 1 Text of Proposed Order)(Bell, John) (Entered:
                   04/16/2018)
04/16/2018         MOTIONS as to Reality Leigh Winner REFERRED to Magistrate Judge: 258
                   MOTION for Leave to Appear Pro Hac Vice of Katherine Cicardo Mannino
                   Receipt Number 113J−2357522, Fee Amount $200, (lcw) (Entered:
                   04/16/2018)
04/16/2018   259   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Telephone Conference as to Reality Leigh Winner held on 4/16/2018
                   (Court Reporter FTR.) (lcw) (Entered: 04/17/2018)
04/17/2018         TEXT ORDER granting 258 Motion to Appear Pro Hac Vice as to Reality
                   Leigh Winner (1) and finding the requirements in Local Rule 83.4 have been
                   satisfied. Signed by Magistrate Judge Brian K. Epps on 04/17/2018. (lcw)
                   (Entered: 04/17/2018)
04/17/2018   260   ORDER finding as moot [164−1] Motion to Lift Unconstitutional Limitations
                   as to Reality Leigh Winner (1); 175 Motion for Reciprocal Discovery as to
                   Reality Leigh Winner (1); 20 Motion for Disclosure as to Reality Leigh
                   Winner (1); 21 Motion for Disclosure as to Reality Leigh Winner (1); 22
                   Motion for Jencks Material as to Reality Leigh Winner (1); and 23 Motion for
                   Release of Brady Materials as to Reality Leigh Winner (1). Signed by
                   Magistrate Judge Brian K. Epps on 04/17/2018. (lcw) (Entered: 04/17/2018)
04/17/2018   261   MEMORANDUM OR RESPONSE in Support by Reality Leigh Winner re 42
                   MOTION for Protective Order (Whitley, Joe) (Entered: 04/17/2018)
04/18/2018   262   NOTICE TO RETAINED COUNSEL as to Reality Leigh Winner; Katherine
                   Cicardo Mannino (lcw) (Entered: 04/18/2018)
04/18/2018   263   NOTICE Of Filing by Reality Leigh Winner (Barnard, Thomas) (Additional
                   attachment(s) added on 5/11/2018 pursuant to 58 and 172 (lcw). Modified on
                   5/11/2018 (lcw). (Entered: 04/18/2018)
04/20/2018   264   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status
                   Conference Proceedings as to Reality Leigh Winner held on 3/12/2018, before
                   Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 5/11/2018.
                   Redacted Transcript Deadline set for 5/21/2018. Release of Transcript
                   Restriction set for 7/19/2018. (Davenport, Lisa) (Entered: 04/20/2018)
04/20/2018   265   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status
                   Conference Proceedings as to Reality Leigh Winner held on 3/15/2018, before
                   Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone number

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                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 5/11/2018.
                   Redacted Transcript Deadline set for 5/21/2018. Release of Transcript
                   Restriction set for 7/19/2018. (Davenport, Lisa) (Entered: 04/20/2018)
04/20/2018   266   RESPONSE in Opposition by USA as to Reality Leigh Winner re 63
                   MOTION to Suppress Defendant's Statements and Request for Evidentiary
                   Hearing (Edelstein, Julie) (Entered: 04/20/2018)
04/20/2018   267   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status
                   Conference Proceedings as to Reality Leigh Winner held on 4/16/2018, before
                   Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view <a href=redact.pl>Transcript Redaction Policy</a>) Redaction Request
                   due 5/11/2018. Redacted Transcript Deadline set for 5/21/2018. Release of
                   Transcript Restriction set for 7/19/2018. (Davenport, Lisa) (Entered:
                   04/20/2018)
04/22/2018   268   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephonic Status
                   Conference Proceedings as to Reality Leigh Winner held on 3/29/2018, before
                   Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view <a href=redact.pl>Transcript Redaction Policy</a>) Redaction Request
                   due 5/14/2018. Redacted Transcript Deadline set for 5/23/2018. Release of
                   Transcript Restriction set for 7/23/2018. (Davenport, Lisa) (Entered:
                   04/22/2018)
04/23/2018   269   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:CLASSIFIED HEARING RE: RULE 17 SUBPOENAS as to Reality
                   Leigh Winner held on 4/23/2018 (Court Reporter Lisa Davenport.) (lcw)
                   (Entered: 04/24/2018)
04/23/2018         Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:EX
                   PARTE CLASSIFIED HEARING RE: RULE 17 SUBPOENAS as to Reality
                   Leigh Winner held on 4/23/2018 (Court Reporter Lisa Davenport.) (lcw)
                   (Entered: 04/24/2018)
04/23/2018   270   CLASSIFIED EXHIBIT LIST by Reality Leigh Winner (lcw) (Entered:
                   04/24/2018)
04/23/2018   271   CLASSIFIED EXPARTE EXHIBIT LIST by Reality Leigh Winner (lcw)
                   (Entered: 04/24/2018)
04/25/2018   272   MOTION for Leave of Absence as to USA for dates of : May 16−21, 2018
                   and May 24−28, 2018. Responses due by 5/9/2018. (Attachments: # 1 Text of
                   Proposed Order)(Aaron, David) (Entered: 04/25/2018)
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04/27/2018   273   ORDER granting 272 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 04/27/2018. (lcw)
                   (Entered: 04/27/2018)
04/27/2018   274   ORDER as to Reality Leigh Winner. The Court REJECTS forty subpoenas in
                   their entirety as overly broad and APPROVES AS MODIFIED the subpoena
                   at docket entry 256 . Signed by Magistrate Judge Brian K. Epps on
                   04/27/2018. (lcw) (Entered: 04/27/2018)
04/27/2018   275   BRIEF SUPPLEMENTAL POST−HEARING BRIEF IN SUPPORT OF
                   DEFENDANTS MOTION TO SUPPRESS by Reality Leigh Winner 266
                   Response in Opposition filed by USA, 63 MOTION to Suppress Defendant's
                   Statements and Request for Evidentiary Hearing filed by Reality Leigh
                   Winner (Attachments: # 1 Exhibit A)(Whitley, Joe) (Entered: 04/27/2018)
04/30/2018   276   NOTICE of Expert Testimony: SA David Freyman, FBI by USA (Solari,
                   Jennifer) (Entered: 04/30/2018)
04/30/2018   277   NOTICE of Filing with the Classified Information Security Officer by USA
                   (Solari, Jennifer) (Entered: 04/30/2018)
04/30/2018   278   NOTICE OF INTENT TO FILE APPEAL/OBJECTIONS TO MAGISTRATE
                   JUDGES RULINGS ON DEFENDANTS RULE 17 SUBPOENAS AND
                   UNOPPOSED MOTION TO SET DEADLINE REGARDING SAME by Reality
                   Leigh Winner re 274 Order (Attachments: # 1 Text of Proposed Order
                   Proposed Order)(Whitley, Joe) Modified on 5/2/2018 (lcw). (Entered:
                   04/30/2018)
05/02/2018   279   ORDER denying 278 Motion to Set Deadline as to Reality Leigh Winner (1).
                   Signed by Chief Judge J. Randal Hall on 05/02/2018. The Defendant shall
                   have up to and including 05/11/2018 to file her objections. (lcw) (Entered:
                   05/02/2018)
05/03/2018   280   Minute Entry for proceedings held before Magistrate Judge Brian K.
                   Epps:Telephone Conference as to Reality Leigh Winner held on 5/3/2018
                   (Court Reporter Lisa Davenport.) (lcw) (Entered: 05/04/2018)
05/04/2018   281   ORDER regarding Defendant's deadline for Rule 16 Expert Disclosures as to
                   Reality Leigh Winner. Signed by Magistrate Judge Brian K. Epps on
                   05/04/2018. (lcw) (Entered: 05/04/2018)
05/07/2018   282   NOTICE of Filing with CISO of Government's Second Notice of Intent to Rely
                   Upon Other Crimes, Wrongs or Acts of Defendant Pursuant to Fed.R.Evid.
                   404(b) by USA (Solari, Jennifer) (Entered: 05/07/2018)
05/07/2018   283   MOTION for Reconsideration re 279 Order on Motion for Extension of Time
                   to File Objections/Appeal to Magistrate's Ruling Regarding Defendant's Rule
                   17 Subpoenas by Joe D. Whitley as to Reality Leigh Winner. Responses due
                   by 5/21/2018. (Whitley, Joe) (Entered: 05/07/2018)
05/09/2018   284   ORDER denying 283 Motion for Reconsideration as to Reality Leigh Winner
                   (1). Signed by Chief Judge J. Randal Hall on 05/09/2018. (lcw) (Entered:
                   05/09/2018)
05/11/2018   285   NOTICE OF FILING by Reality Leigh Winner (Whitley, Joe) (Entered:
                   05/11/2018)

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05/11/2018   286   NOTICE OF FILING by Reality Leigh Winner (Whitley, Joe) (Entered:
                   05/11/2018)
05/11/2018   287   MOTION for Leave to File EX PARTE SUPPLEMENT TO
                   OBJECTIONS/APPEAL TO MAGISTRATE JUDGE'S RULINGS ON
                   DEFENDANT'S RULE 17 SUBPOENAS by Joe D. Whitley as to Reality Leigh
                   Winner. Responses due by 5/25/2018. (Whitley, Joe) (Entered: 05/11/2018)
05/11/2018   288   APPEAL OF MAGISTRATE JUDGE DECISION to District Court by Reality
                   Leigh Winner ( Filing fee $ 37 receipt number 113J−2373952.) (Whitley, Joe)
                   (Entered: 05/11/2018)
05/14/2018   289   ORDER granting 287 Motion for Leave to File Ex Parte Supplement to
                   Objections/Appeal to Magistrate Judge's Rulings on Defendants Rule 17
                   Subpoenas as to Reality Leigh Winner (1). Signed by Chief Judge J. Randal
                   Hall on 05/14/2018. (lcw) (Entered: 05/14/2018)
05/14/2018   291   CLASSIFIED EXPARTE ORDER as to Reality Leigh Winner. Signed by
                   Magistrate Judge Brian K. Epps on 05/14/2018. (lcw) (Entered: 05/16/2018)
05/24/2018   292   RESPONSE by USA as to Reality Leigh Winner re 288 Appeal of Magistrate
                   Judge Decision to District Court (Solari, Jennifer) (Entered: 05/24/2018)
05/24/2018   293   NOTICE OF INTENT TO FILE A REPLY IN RESPONSE TO THE
                   GOVERNMENT'S RESPOSNE TO DEFENDANT'S OBJECTIONS TO
                   RULING ON RULE 17(c) REQUESTS (DOC. 288) [DOC. 292] by Reality
                   Leigh Winner re 292 Response (Whitley, Joe) (Entered: 05/24/2018)
05/24/2018   294   NOTICE OF FILING OF DEFENDANT'S FIRST REVISED CIPA § 5 Notice
                   by Reality Leigh Winner re 168 Notice (Other) (Whitley, Joe) (Redacted
                   document added on 6/18/2018 pursuant to 58 and 172 (lcw). (Entered:
                   05/24/2018)
05/25/2018   295   NOTICE DEFENDANTS NOTICE OF EXPERT TESTIMONY J WILLIAM
                   LEONARD by Reality Leigh Winner (Whitley, Joe) (Entered: 05/25/2018)
05/31/2018   296   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Classified Hearing on
                   Rule 17 Subpoenas Proceeding as to Reality Leigh Winner held on 4/23/2018,
                   before Judge BKE. Court Reporter/Transcriber Lisa Davenport, Telephone
                   number 706−823−6468. Tape Number: None. Transcript may be viewed at the
                   court public terminal or purchased through the Court Reporter/Transcriber
                   before the deadline for Release of Transcript Restriction. After that date it may
                   be obtained through PACER. (Transcript Redaction Policy Issued or Click
                   here to view Transcript Redaction Policy) Redaction Request due 6/21/2018.
                   Redacted Transcript Deadline set for 7/2/2018. Release of Transcript
                   Restriction set for 8/29/2018. (Davenport, Lisa) (Entered: 05/31/2018)
05/31/2018   297   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Classified Ex Parte
                   Proceedings as to Reality Leigh Winner held on 4/23/2018, before Judge BKE.
                   Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: None. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 6/21/2018.

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                   Redacted Transcript Deadline set for 7/2/2018. Release of Transcript
                   Restriction set for 8/29/2018. (Davenport, Lisa) (Entered: 05/31/2018)
06/06/2018   301   NOTICE OF HEARING as to Reality Leigh Winner. CIPA §6 Hearing set for
                   8/6/2018 10:00 AM in Augusta − 2nd Floor before Chief Judge J. Randal Hall.
                   (lcw) (Entered: 06/06/2018)
06/06/2018   302   NOTICE OF HEARING as to Reality Leigh Winner. Pretrial Conference set
                   for 10/10/2018 10:00 AM in Augusta − 2nd Floor before Chief Judge J.
                   Randal Hall. (lcw) (Additional attachment(s) added on 6/7/2018: # 1
                   Supplement) (lcw). (Entered: 06/06/2018)
06/06/2018   303   NOTICE OF HEARING as to Reality Leigh Winner. Jury Selection and Trial
                   set for 10/15/2018 09:00 AM in Augusta − 2nd Floor before Chief Judge J.
                   Randal Hall. (lcw) (Additional attachment(s) added on 6/7/2018: # 1
                   Supplement) (lcw). (Entered: 06/06/2018)
06/07/2018   304   NOTICE NOTICE OF FILING: CLASSIFIED EX PARTE SUPPLEMENT TO
                   DEFENDANT'S REPLY TO THE GOVERNMENT'S RESPONSE TO
                   DEFENDANT'S OBJECTIONS TO MAGISTRATE JUDGE EPPS' RULING
                   ON RULE 17(C) REQUESTS AND SUBMISSION OF REVISED
                   SUBPOENAS by Reality Leigh Winner re 288 Appeal of Magistrate Judge
                   Decision to District Court, 292 Response, 286 Notice (Other), 274 Order
                   (Barnard, Thomas) (Entered: 06/07/2018)
06/07/2018   305   ORDER as to Reality Leigh Winner. The Court admonishes all present and
                   prospective attorneys who may be associated with this case that no violations
                   of LR 53.1 will be tolerated. Violation of LR 53.1 may result in contempt
                   proceedings or other measures. Signed by Chief Judge J. Randal Hall on
                   06/07/2018. (lcw) (Entered: 06/07/2018)
06/07/2018   306   RESPONSE by Reality Leigh Winner re 288 Appeal of Magistrate Judge
                   Decision to District Court, 286 Notice (Other), 274 Order DEFENDANT'S
                   REPLY BRIEF IN SUPPORT OF DEFENDANT'S OBJECTIONS TO RULING
                   ON RULE 17(C) REQUESTS (Whitley, Joe) (Entered: 06/07/2018)
06/13/2018   307   NOTICE OF HEARING as to Reality Leigh Winner. Telephonic Status
                   Conference set for 6/13/2018 11:00 AM in Augusta − 1st Floor before
                   Magistrate Judge Brian K. Epps. (lcw) (Entered: 06/13/2018)
06/13/2018   308   Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:
                   Telephonic Status Conference as to Reality Leigh Winner held on 6/13/2018
                   (Court Reporter FTR.) (lcw) (Entered: 06/15/2018)
06/20/2018   309   NOTICE OF HEARING as to Reality Leigh Winner. Telephone Conference
                   set for 6/20/2018 11:30 AM in Augusta − 1st Floor before Magistrate Judge
                   Brian K. Epps. (lcw) (Entered: 06/20/2018)
06/20/2018   310   Minute Entry for proceedings held before Magistrate Judge Brian K.Epps:
                   Telephone Conference as to Reality Leigh Winner held on 6/20/2018 (Court
                   Reporter Lisa Davenport.) (lcw) Modified on 6/20/2018 (lcw). (Entered:
                   06/20/2018)
06/21/2018         PLEA AGREEMENT RECEIVED as to Reality Leigh Winner (lcw) (Entered:
                   06/21/2018)

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06/21/2018   311   NOTICE OF HEARING as to Reality Leigh Winner. Change of Plea Hearing
                   set for 6/26/2018 10:00 AM in Augusta − 2nd Floor before Chief Judge J.
                   Randal Hall. (lcw) (Entered: 06/21/2018)
06/22/2018   312   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Telephone
                   Conference as to Reality Leigh Winner held on 5/3/2018, before Judge BKE.
                   Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view Transcript Redaction Policy) Redaction Request due 7/13/2018.
                   Redacted Transcript Deadline set for 7/23/2018. Release of Transcript
                   Restriction set for 9/20/2018. (Davenport, Lisa) (Entered: 06/22/2018)
06/25/2018   313   RESPONSE by Reality Leigh Winner re 58 Order − Memorandum of
                   Understanding Regarding Receipt of Classified Information (Whitley, Joe)
                   (Entered: 06/26/2018)
06/26/2018   314   NOTICE OF ATTORNEY APPEARANCE Bobby L. Christine appearing for
                   USA. (maa) (Entered: 06/26/2018)
06/26/2018   315   Minute Entry for proceedings held before Chief Judge J. Randal Hall: Change
                   of Plea Hearing as to Reality Leigh Winner held on 6/26/2018 (Court Reporter
                   Lisa Davenport.) (lcw) (Entered: 06/26/2018)
06/26/2018   316   CHANGE OF PLEA entered by Reality Leigh Winner (1) Guilty Count 1s.
                   (lcw) (Entered: 06/26/2018)
07/03/2018   317   MOTION for Leave of Absence as to USA for dates of : 7/20−23, 7/26−30,
                   and 8/3−10, 2018. Responses due by 7/17/2018. (Attachments: # 1 Text of
                   Proposed Order)(Aaron, David) (Entered: 07/03/2018)
07/09/2018   318   ORDER granting 317 Motion for Leave of Absence as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 07/09/2018. (lcw)
                   (Entered: 07/09/2018)
08/07/2018   319   NOTICE OF HEARING as to Reality Leigh Winner. Sentencing set for
                   8/23/2018 10:00 AM in Augusta − 2nd Floor before Chief Judge J. Randal
                   Hall. (lcw) (Entered: 08/07/2018)
08/14/2018   320   SENTENCING MEMORANDUM by USA as to Reality Leigh Winner
                   (Edelstein, Julie) (Entered: 08/14/2018)
08/15/2018   321   SENTENCING MEMORANDUM by Reality Leigh Winner (Attachments: #
                   1 Exhibit A− Joel Sickler Declaration)(Whitley, Joe) (Entered: 08/15/2018)
08/15/2018   322   AMENDED SENTENCING MEMORANDUM by Reality Leigh Winner
                   (Attachments: # 1 Exhibit A − Joel Sickler Declaration)(Whitley, Joe)
                   (Entered: 08/15/2018)
08/23/2018   323   Minute Entry for proceedings held before Chief Judge J. Randal Hall:
                   Sentencing held on 8/23/2018 for Reality Leigh Winner (1). As to Count 1,
                   Def sentenced to 63 months custody BOP; 3 years supervised release; $100
                   special assessment; 100 hours community service. Def is remanded to custody
                   of USMS. (Court Reporter Lisa Davenport.) (lcw) (Entered: 08/23/2018)

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08/23/2018   324   PLEA AGREEMENT as to Reality Leigh Winner (lcw) (Entered: 08/23/2018)
08/23/2018         Plea Agreement Accepted as to Reality Leigh Winner (lcw) (Entered:
                   08/23/2018)
08/23/2018   325   MOTION to Dismiss Superseding Indictment by Jennifer Gayle Solari as to
                   Reality Leigh Winner. (lcw) (Entered: 08/23/2018)
08/23/2018   326   ORDER granting 325 Motion to Dismiss as to Reality Leigh Winner (1).
                   Signed by Chief Judge J. Randal Hall on 08/23/2018. (lcw) (Entered:
                   08/23/2018)
08/24/2018   327   JUDGMENT as to Reality Leigh Winner (1). Count 1 Def sentenced to 63
                   months custody BOP; 3 years supervised release; $100 special assessment;
                   100 hours community service. Signed by Chief Judge J. Randal Hall on
                   08/24/2018. (lcw) (Entered: 08/24/2018)
09/11/2018   328   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Sentencing
                   Proceedings as to Reality Leigh Winner held on 8/23/2018, before Judge JRH.
                   Court Reporter/Transcriber Lisa Davenport, Telephone number
                   706−823−6468. Tape Number: FTR. Transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be
                   obtained through PACER. (Transcript Redaction Policy Issued or Click here to
                   view <a href=redact.pl>Transcript Redaction Policy</a>) Redaction Request
                   due 10/2/2018. Redacted Transcript Deadline set for 10/12/2018. Release of
                   Transcript Restriction set for 12/10/2018. (Davenport, Lisa) (Entered:
                   09/11/2018)
11/29/2018   329   MOTION to Relinquish Funds to the Registry of the Court by Mary Susan
                   Fitzgerald as to Reality Leigh Winner. Responses due by 12/13/2018.
                   (Attachments: # 1 Text of Proposed Order)(Fitzgerald, Mary) (Entered:
                   11/29/2018)
12/19/2018   330   ORDER granting 329 Motion to Relinquish Funds to the Registry of the Court
                   as to Reality Leigh Winner (1). Signed by Chief Judge J. Randal Hall on
                   12/18/2018. (lcw) (Entered: 12/19/2018)
12/19/2018   331   CLERK'S CERTIFICATE/ORDER as to Reality Leigh Winner. Signed by
                   Deputy Clerk on 12/19/2018. (evs) (Additional attachment(s) added on
                   12/19/2018: # 1 Receipt) (evs). (Entered: 12/19/2018)
01/07/2019   332   ORDER as to Reality Leigh Winner. The Clerk shall distribute from the
                   Registry of the Court the sum of $2,073.60 to the Community Foundation for
                   the CSRA for the benefit of the Friends of Augusta Animal Services and
                   $2,073.59 to the Columbia County Animal Rescue. Signed by Chief Judge J.
                   Randal Hall on 01/07/2019. (lcw) (Entered: 01/07/2019)
03/07/2019   333   MOTION to Intervene for the Limited Purpose of Seeking Access to Certain
                   Sealed Court Records Related to this Action by David E. Hudson as to Reality
                   Leigh Winner. Responses due by 3/21/2019. (lcw) (Entered: 03/07/2019)
03/07/2019   334   MEMORANDUM OF LAW in Support by Reporters Committee for Freedom
                   of the Press as to Reality Leigh Winner re 333 MOTION to Intervene for the
                   Limited Purpose of Seeking Access to Certain Sealed Court Records Related
                   to this Action (lcw) (Entered: 03/07/2019)
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03/21/2019   335   RESPONSE to Motion by USA as to Reality Leigh Winner re 333 MOTION
                   to Intervene for the Limited Purpose of Seeking Access to Certain Sealed
                   Court Records Related to this Action (Solari, Jennifer) (Entered: 03/21/2019)
03/11/2020   340   ORDER as to Reality Leigh Winner. This case having concluded and there
                   being certain items entered into evidence by the Government during the course
                   of said case, It Is Hereby Ordered that the foregoing evidence be returned to
                   the Government. Signed by Magistrate Judge Brian K. Epps on 03/11/2020.
                   (thb) (Entered: 03/11/2020)
04/10/2020   341   ******* MOTION for Release from Custody Pursuant to 18 U.S.C. § 3582,
                   MOTION for Hearing by Joe D. Whitley as to Reality Leigh Winner.
                   Responses due by 4/24/2020. (Attachments: # 1 Briefs, # 2 Exhibit 1, # 3
                   Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit
                   7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10)(Whitley, Joe) (Additional
                   attachment(s) added on 4/15/2020: # 12 Unredacted Sealed Brief in Support, #
                   13 Unredacted Sealed Ex 1, # 14 Unredacted Sealed Ex 7) (pts). (Entered:
                   04/10/2020)
04/10/2020   342   MOTION to Seal Document Portions of Motion for Compassionate Release
                   and Certain Exhibits Thereto (Dkt 341) by Joe D. Whitley as to Reality Leigh
                   Winner. Responses due by 4/24/2020. (Attachments: # 1 Briefs, # 2 Text of
                   Proposed Order)(Whitley, Joe) (Entered: 04/10/2020)
04/10/2020   343   MOTION to Expedite Briefing and for Immediate Hearing by Joe D. Whitley
                   as to Reality Leigh Winner. Responses due by 4/24/2020. (Whitley, Joe)
                   (Entered: 04/10/2020)
04/15/2020   344   ORDER granting 342 Motion to Seal Document as to Reality Leigh Winner
                   (1); denying 343 Motion to Expedite as to Reality Leigh Winner (1). Signed
                   by Chief Judge J. Randal Hall on 4/15/2020. (pts) (Entered: 04/15/2020)
04/20/2020   345   RESPONSE in Opposition by USA as to Reality Leigh Winner re 341
                   MOTION for Release from Custody Pursuant to 18 U.S.C. § 3582 MOTION
                   for Hearing (Davids, Justin) (Entered: 04/20/2020)
04/20/2020   346   NOTICE of Intent to File Reply in Support of Motion for Compassionate
                   Release by Reality Leigh Winner re 341 MOTION for Release from Custody
                   Pursuant to 18 U.S.C. § 3582 MOTION for Hearing (Whitley, Joe) (Entered:
                   04/20/2020)
04/22/2020   347   REPLY TO RESPONSE to Motion by Reality Leigh Winner re 341 MOTION
                   for Release from Custody Pursuant to 18 U.S.C. § 3582 MOTION for Hearing
                   (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Whitley, Joe)
                   (Entered: 04/22/2020)
04/23/2020   348   NOTICE of Intent to file Surreply by USA re 347 Reply to Response, (Davids,
                   Justin) (Entered: 04/23/2020)
04/24/2020   349   ORDER denying 341 Motion for Compassionate Release as to Reality Leigh
                   Winner (1). Signed by Chief Judge J. Randal Hall on 04/24/2020. (thb)
                   (Entered: 04/24/2020)
05/01/2020   350   NOTICE OF APPEAL−OTHER ORDER by Reality Leigh Winner re 349
                   Order on Motion for Release from Custody, Order on Motion for Hearing.
                   Filing fee $ 505, receipt number AGASDC−2833971. (Whitley, Joe) (Entered:
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA               *
                                        *
v.                                      *             NO. 1:17-CR-00034
                                        *
REALITY LEIGH WINNER                   *
                                        *
                                        *
* * * * * * * * * * * * * * * * * * * *

                                   NOTICE OF APPEAL

       Notice is hereby given that Defendant Reality Leigh Winner in the above-named case,

pursuant to 28 U.S.C. § 1291, hereby appeals to the United States Court of Appeals for the

Eleventh Circuit from the Order of April 24, 2020 (ECF No. 349) denying Defendant’s Motion for

Compassionate Release under 18 U.S.C. § 3582(c)(1)(A).

                                    Respectfully submitted,

                                    BY:    /s/ Joe D. Whitley
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                                           Admitted Pro Hac Vice
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                                      ATTORNEYS FOR DEFENDANT
                                      REALITY LEIGH WINNER




                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 1, 2020, I electronically filed the foregoing with the Clerk of
the Court using the ECF system, which sent notification of such filing to counsel of record for all
parties.

                                                              /s/ Joe D. Whitley
                                                              Joe D. Whitley




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